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 1                       UNITED STATES DISTRICT COURT

 2                    SOUTHERN DISTRICT OF TEXAS
                               - - -
 3         THE HONORABLE KENNETH M. HOYT, JUDGE PRESIDING
      ------------------------------------------------------
 4    KONNECH, INC.,             ) Cause No. 4:22-cv-03096
                                 )
 5                 Plaintiff,    )
                                 )
 6    vs.                        )
                                 )
 7    TRUE THE VOTE, et al.,     )
                                 )
 8                 Defendants.   )
                                 )
 9
      ------------------------------------------------------
10                           HEARING

11                OFFICIAL COURT REPORTER'S TRANSCRIPT

12                               Houston, Texas

13                             October 27, 2022

14    ------------------------------------------------------

15    APPEARANCES:
      On behalf of the Plaintiff:
16       Constantine Z. Pamphilis, Esq.
         Nathan Richardson, Esq.
17
      On behalf of the Defendants:
18       Brock Cordt Akers, Esq. (Not present)
         Michael John Wynne, Esq
19       John C. Kiyonaga, Esq.

20

21    Reported By:       Nichole Forrest, CSR, RDR, CRR, CRC
                         Certified Realtime Reporter
22                       United States District Court
                         Southern District of Texas
23

24    Proceedings recorded by mechanical stenography.
      Transcript produced by Reporter on computer.
25
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                                                                              3

 1                          PROCEEDINGS
      ______________________________________________________
 2

 3          (The following proceedings held in open court.)

 4                                    *   *     *

 5                    THE COURT:      All right.         I see we've had a

 6    change in the court reporter.                 I think I need to make

 7    sure the record is clear.           So I'm going to reannounce

 8    and make sure that we know who counsel is and who is

 9    representing whom in this case.

10                    This is Konnech versus True The Vote, and

11    individual defendants, Phillips and Engelbrecht.

12                    Who is representing Konnech?

13                    MR. PAMPHILIS:          Dean Pamphilis and Nathan

14    Richardson, with Kasowitz Benson & Torres, here on

15    behalf of plaintiff Konnech.

16                    THE COURT:      All right.         And who is

17    representing True The Vote?              Who is the

18    attorney-in-charge?

19                    I believe Mr. Akers is no longer in the

20    case -- or is he?

21                    MR. WYNNE:      That is correct, Your Honor.

22                    THE COURT:      Is it you, Mr. Wynne?

23                    MR. WYNNE:      Yes, Your Honor.

24                    THE COURT:      Are you the

25    attorney-in-charge?
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                                                                               4

 1                    MR. WYNNE:      Yes, Your Honor.

 2                    THE COURT:      I think they announced

 3    themselves previously.

 4                    MR. WYNNE:      May I interject?

 5                    Mr. Kiyonaga is more familiar with certain

 6    elements later on, and he will need to interject, as I

 7    am very new on the case.           He has already been admitted

 8    pro hac vice in this matter.

 9                    THE COURT:      But he's not the

10    attorney-in-charge.

11                    MR. WYNNE:      He is not the

12    attorney-in-charge.         The challenge I have here -- I

13    guess we could redesignate at this point.                But he is

14    more familiar with the background facts, having been

15    on the case; in particular, the subjects of this

16    hearing, where I feel that he would be more

17    informative to the Court in making a decision.

18                    THE COURT:      Was he present at the previous

19    proceedings in this courtroom?

20                    MR. WYNNE:      I would have to ask him.

21                    He says he was not, although he has been

22    in communication with previous counsel-in-charge.                   So

23    it's my suggestion -- and I'm willing to step down and

24    let him be attorney-in-charge if only one of us is

25    allowed to speak.        Because, in the interest of
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                                                                              5

 1    justice, the Court would have a lot more information

 2    with somebody more familiar with the facts than I am.

 3                    THE COURT:      You don't have to step down

 4    for him to speak.        However, the attorney-in-charge, as

 5    you know, under the local rules is responsible for the

 6    matters and proceedings and filings in the case.

 7                    Therefore, we have, as you know, local

 8    rules that require lead counsel to make sure whatever

 9    is being presented, and certainly it has to do with

10    the case at hand, and under Rule 16, and what other

11    rules might apply to the lawyers' conduct in the

12    courtroom.

13                    MR. WYNNE:      Of course.      I accept that full

14    responsibility.        If I may defer for items that I'm

15    just not personally familiar with --

16                    THE COURT:      Well, here is what I'm not

17    going to do:       I'm not going to hear from two lawyers

18    arguing the same point in this case.              I'm not going to

19    hear two lawyers on one side arguing different points

20    in this case, unless they have to do specifically with

21    this case.

22                    And part of my concern is that this case

23    is in my court.        And there is no other case.           I will

24    not be concerned about what is going on in Michigan or

25    California or any other state.            Because, in my
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                                                                              6

 1    judgment, I cannot permit others to interfere with the

 2    carrying out of justice in this courtroom.

 3                    So that's where we are.          And I gather that

 4    there may be some other matters of concern to the

 5    parties in this case, but they're not of concern to

 6    this Court.

 7                    I would invite you to make sure that

 8    whoever speaks is speaking on behalf of the clients,

 9    speaking on your behalf, or as you have designated,

10    and focused on the matters before the Court.

11                    MR. WYNNE:      May I have a moment, in that

12    case, to confer with my counsel --

13                    THE COURT:      Sure.

14                    MR. WYNNE:      -- co-counsel and with my

15    clients, to make sure that they're being represented

16    in accordance with their wishes?

17                    THE COURT:      For sure.

18                    MR. WYNNE:      Thank you.

19                             (Off the record.)

20                    MR. WYNNE:      May I sit?

21                    THE COURT:      I prefer that you stand.          You

22    just pull the microphone towards you.               It will pull

23    out.    Speak up.

24                    MR. WYNNE:      Your Honor, may I proceed?

25                    THE COURT:      Yes.
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                                                                                 7

 1                    MR. WYNNE:      Your Honor, after

 2    consulting --

 3                    THE COURT:      Excuse me --

 4                    MR. PAMPHILIS:       I'm sorry.      There is one

 5    thing -- I know Mr. Wynne is new to this case.                   There

 6    is one thing that he said that is inaccurate.                   And

 7    that is, that Brock Akers is still in this case.                      He

 8    has not withdrawn.         He was designated as the

 9    attorney-in-charge, and neither of these gentlemen

10    have redesignated themselves as attorney-in-charge.

11    Mr. Akers is not in the courtroom today.                I just want

12    to make that clear for the Court's record.

13                    THE COURT:      All right.      Let me hear from

14    you then.

15                    MR. WYNNE:      Let me clarify.       Counsel is

16    absolutely correct.         I spoke with Mr. Akers yesterday.

17    He's somewhere in the Mediterranean on vacation.                      I

18    will remind him that he needs to file that.                 We'll get

19    that out.

20                    Now, I've consulted with my clients,

21    plural, and they would like me to proceed as lead

22    counsel for the purpose of this hearing.                We'll

23    clarify that with an appropriate filing as soon as we

24    recess.

25                    THE COURT:      Let me set the table.           Then
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                                                                              8

 1    we'll be ready to proceed.

 2                    This matter came before the Court on a

 3    Motion For Temporary Restraining order several weeks

 4    ago.    And the plaintiff's motion and affidavit

 5    presented, and the Court entered a temporary

 6    restraining order.

 7                    The parties, upon hearing -- Mr. Akers was

 8    present at that time -- upon hearing, stipulated the

 9    method by which that temporary restraining order would

10    come to an end.

11                    In the interim, the Court filed its own

12    order directing the defendants to appear and show

13    cause why they should not be held in contempt for

14    failing to comply with the Court's order.

15                    So after review of the documents tendered

16    by Mr. Akers, or counsel at that time, the Court

17    determined that the TRO should issue.               And it did.

18                    And part of that temporary restraining

19    order is reflected in the Court's Show Cause Order, or

20    at least the parts that are in dispute or at least --

21    not in dispute.        But the parts that are relevant and

22    before the Court, and they have to do with subsections

23    5, 6, and 7, I believe.

24                    And these were the portions of the

25    temporary restraining order that were not complied
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                                                                              9

 1    with, in that the Court ordered the parties to

 2    identify each individual and/or organization involved

 3    in accessing Konnech's protected computers; ordered to

 4    confidentially disclose to Konnech how, when and by

 5    whom Konnech's protected computers were accessed; and

 6    the third item ordered them, the defendants, to

 7    identify all persons and/or entities, and to the

 8    defendants' knowledge, who have had possession,

 9    custody or control of any information or data from

10    Konnech's protected computers.            Those were the three

11    items that became the basis for the Court's Order to

12    Show Cause.

13                    That matter was set and was set for today

14    at 11:00 a.m.       And the Court is ready to proceed at

15    this time with whatever testimony may be offered and

16    whatever evidence it may be presented at this time.

17                    You may proceed, Mr. Wynne.

18                    MR. WYNNE:      Yes.    Your Honor, we have

19    prepared, and it was in draft form until this morning,

20    an affidavit by Mr. Gregg Phillips that addresses

21    succinctly those points.

22                    First, being with regard to sub Roman

23    numeral 5, that to the best of my clients' personal

24    knowledge, the name, identity of the person or

25    organization that accessed the electronic information
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                                                                               10

 1     from a computer.

 2                     It's alleged in the Complaint -- it was

 3     revealed in open court and is accurate during the

 4     hearing on October 6, 2022.           To be precise, it is

 5     Mr. Phillips' understanding that the computer in

 6     question may not have been actually owned by Konnech,

 7     Inc., as that term is commonly understood.

 8                     Upon information and belief, the server

 9     from which the information was accessed was located in

10     China.    There is an attachment to this affidavit

11     indicating that.

12                     Now, with regard to little Roman numeral

13     6, directly or through counsel, as the Court direct,

14     defendants and defendants' counsel, me, will

15     confidentially, with all diligence, expedience and in

16     good faith, with the plaintiff and plaintiff's

17     counsel, to answer all questions set out to address

18     all matters identified to the best of their personal

19     knowledge, subject to any protective order the Court

20     may issue and will do so at the earliest opportunity

21     convenient for all parties and counsel.

22                     As I've told counsel, who I first met this

23     morning, you know, I'm willing to do that starting

24     this afternoon.       I will say that we went through a lot

25     yesterday, and it is very involved.
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                                                                               11

 1                     And so I think it would be most efficient

 2     for us, at least to make that effort.              Face to face,

 3     I'm confident we can do that.            I've already disclosed

 4     today, I'm going to guess ten times more than they

 5     knew before today.        And I'm going to continue that

 6     process.

 7                     Now, with regard to subsection 7, Roman

 8     numeral, to the best of my knowledge, that is

 9     Mr. Phillips, the only persons and/or entities who had

10     the electronic information to which I understand the

11     order is directed in his, her or its possession,

12     custody or control is that same person identified in

13     court on October 6, 2022, and the Federal Bureau of

14     Investigation, including but not necessarily limited

15     to Special Agent Huy, H-U-Y, "Bobby," Nguyen, spelled

16     N-G-U-Y-E-N; and/or Keven McKenna, M-C-K-E-N-N-A, of

17     the San Antonio division.          I've confirmed, as best I

18     can, those are actual special agents.

19                     I've also confirmed, to my satisfaction,

20     that there were significant communications.                I've seen

21     text messages between our clients and those agents.

22     And I've also been able to discern, based in part on

23     my colleague's experience with these databases, that

24     the information was too massive to have went from

25     Mr. Hasson -- I'll come out and say the name, so we
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                                                                               12

 1     know who we're talking about -- Mr. Hasson to my

 2     clients to the FBI.

 3                     What apparently happened is, the data is

 4     so the massive this cannot fit on any individual

 5     computer.     So we surmised, based on the best of our

 6     efforts and we're willing to work with counsel to get

 7     the nuts and bolts, that the information went from

 8     Konnech or Hasson -- or --

 9                     THE COURT REPORTER:        Excuse me, I didn't

10     hear you.     Can you speak louder and get to the

11     microphone, please.

12                     MR. WYNNE:     It's our understanding that

13     the information went from Mr. Hasson and whoever he's

14     associated with directly to the FBI.              But as we've

15     been directed, we will work diligently with

16     plaintiff's counsel, you know, to get to the bottom of

17     the matter.

18                     THE COURT:     How is that name spelled, so

19     that court reporter has it?

20                     This is a different court reporter than

21     the one that was present at the other proceeding.

22                     You said what "Hassan"?

23                     MR. WYNNE:     I understand it's

24     H-A-S-S-A-N --

25                     UNIDENTIFIED SPEAKER:         O-N.
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                                                                               13

 1                     MR. WYNNE:     0-N. Thank you.

 2                     THE COURT:     All right.      Okay.

 3                     MR. WYNNE:     I would like to tender this

 4     affidavit -- I'm going to have to mark it in

 5     handwriting as Defense 1.

 6                     THE COURT:     Has that's been filed?

 7                     MR. WYNNE:     It has not been filed.

 8                     THE COURT:     You need to pass it back.

 9                     Has anything been filed by you or any

10     other counsel since the proceeding back in early

11     October?     October 15 or so, whatever that date is.

12                     MR. WYNNE:     I believe there is a motion to

13     seal that has been or is being filed.              We've decided

14     to not go that course following the consultation with

15     our clients and just to proceed with this.                So we can

16     file it --

17                     THE COURT:     No, no, no.       Let me just be

18     clear.     I'm trying to find out what data and what

19     information has been provided to the Court already.

20                     As I understand your response, no filings

21     have been made in this case since the response to the

22     temporary restraining order.           And I believe that might

23     have been filed by Mr. Akers, defendants' response,

24     back on September 23rd.

25                     There has been no filings since that time.
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                                                                               14

 1     Is that correct?

 2                     MR. WYNNE:     That is -- that is correct,

 3     from my review of the docket sheet.              I'll represent to

 4     the Court that I didn't want to file this until this

 5     morning when I had the facts straight.

 6                     THE COURT:     All right.      Let me get a

 7     response from counsel, and then we'll come back to

 8     you.

 9                     MR. PAMPHILIS:       Your Honor, to answer your

10     last question, my understanding is the only thing that

11     has been filed since the October 6 hearing, other than

12     a motion to withdraw by Mr. Brewer, was a document

13     they filed called a Motion For Abeyance.

14                     And they tried to stop this case from

15     proceeding for a week while they brought in new

16     counsel, and because they said they were expecting

17     that this sealed Indictment, which still remains

18     sealed, was going to be made available and that

19     somehow that was going to have a bearing on this

20     proceeding.      That never happened.

21                     THE COURT:     By "sealed Indictment," are

22     you referring to a matter that was brought to the

23     Court's attention back at that hearing having to do

24     with the California proceeding?

25                     MR. PAMPHILIS:       Yes, Your Honor.
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                                                                               15

 1                     THE COURT:     Okay.     So the answer to the

 2     question is:      There have been no documents

 3     pertaining -- as far as you know, you have not

 4     received, I gather, any documents from counsel, from

 5     any parties, regarding a response to the Court's Order

 6     to Show Cause?

 7                     MR. PAMPHILIS:       That is correct, Your

 8     Honor.

 9                     And if I may proceed, the defendants'

10     contempt in this case, frankly, to me is shocking.

11     I've not seen in my career such a direct affront to a

12     Court's authority as has been on full display in this

13     courtroom for Your Honor to see.

14                     I understand the defendants have new

15     counsel now.      Yet, again, we're hearing different

16     stories about the data; who had it, where it came

17     from, where it went to.

18                     The bottom line is that for 45 days their

19     contempt has remained unabated.            They've not purged

20     their contempt.       Six days after our last hearing, they

21     filed a motion to hold this matter in abeyance.                 And

22     in that, they again raised the same arguments that

23     this Court has rejected that they couldn't reveal this

24     information based on national security and concerns

25     for physical safety.         But more importantly, they
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                                                                               16

 1     acknowledged again they weren't complying.                And they

 2     haven't done anything more to comply.

 3                     Also, it's important, Your Honor -- and I

 4     want to bring this to the Court's attention -- at the

 5     last hearing, as Your Honor will remember, after a lot

 6     of back-and-forth, Mr. Akers finally identified this

 7     person, Mike Hasson, for the record.

 8                     After the hearing, we did our own research

 9     to figure out who this Mike Hasson is.              As you might

10     imagine, there is more than one in the country.                 I was

11     able to find an address.          I was able to figure out who

12     I think his parents are, where he works.

13                     I gave that information to Mr. Akers on

14     three separate days.         I asked him to please confirm

15     that I have the right Mike Hasson; the order requires

16     you to identify these people.            And just giving me a

17     name, without something more, is not enough.

18                     This is a person that Mr. Phillips admits

19     he spent the night in a hotel room with in Dallas.

20     Surely, he has some contact information.               We actually

21     brought a photo of Mr. Hasson, the one we believe it

22     is today; one with a beard, one without.               And we asked

23     through his counsel:         Please tell us if this is the

24     right Mike Hasson.        They weren't able to confirm it.

25                     I know Your Honor wants us to bring Mike
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                                                                               17

 1     Hasson into the lawsuit.          We have moved to amend our

 2     Complaint to add Mike Hasson.            I want to make one

 3     hundred percent sure that I'm bringing the right Mike

 4     Hasson in.      So, I think, even under section 5, by

 5     providing that one name, they've not complied.

 6                     Furthermore, Your Honor, as I pointed out

 7     at the last hearing, section 5 didn't require them to

 8     identify just one person.          It required them to

 9     identify each person that was involved in accessing

10     the information here.

11                     There is evidence before the Court that we

12     put in with our motion for TRO and preliminary

13     injunction, as well as the contempt order, that

14     Mr. Phillips has been all over the internet, saying

15     that they're -- he got this information with his guys,

16     with his analysts, with his team, all referring to the

17     plural.     And that there was -- the clear indication is

18     that there was more than one person in that hotel

19     room.     Anybody who was in that hotel room was

20     involved.

21                     And, so, again, they're going to have to

22     tell us each and every person that was involved to

23     comply with section 5.         And they're going to have to

24     give us the contact information that they have in

25     order to comply.        We don't have that information.
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                                                                               18

 1                     Under section 6, Your Honor, they were

 2     required to confidentially disclose to Konnech how and

 3     when and by whom its protected computers were

 4     accessed.

 5                     As was just said in front of this Court,

 6     they haven't complied with that.             They're talking

 7     about doing that in the future.            They've had 45 days

 8     to comply.      If it wasn't apparent from the last

 9     hearing on October 6th what the Court expected them to

10     do, I don't think it could be made any more apparent.

11     They did nothing.

12                     The October 17th Show Cause Order was

13     issued by this Court ten days ago.             Again, they did

14     nothing, other than get on their podcast and talk

15     about this case and the case in L.A.

16                     What they weren't doing was complying with

17     this Court's order.        The first time I heard from

18     Mr. Wynne, who is new to the case, was by e-mail last

19     night at 10:16, after I had already gone to sleep.

20                     He and I were able to speak this morning,

21     and I told him that I am willing to work with him to

22     help him help his clients purge their contempt, but

23     that does not change the fact that they're in

24     contempt.

25                     Under section 7 of the TRO, they were
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 1     required to identify all persons and/or entities, who,

 2     in their knowledge, have had possession, custody or

 3     control of any information or data from Konnech's

 4     protected computers.

 5                     They've told us that they turned it over

 6     to the FBI.      What they haven't told us is whether

 7     anybody else has it to their knowledge.               They don't --

 8     you've heard them say now -- he didn't say whether

 9     Mr. Phillips has it.         He didn't say whether

10     Ms. Engelbrecht has it, or True The Vote, or any other

11     law enforcement or government attorney.

12                     Does the L.A. D.A. have it?           We don't

13     know.    They haven't told us, these are the only people

14     that I know have it.         Instead, they're saying we know

15     these people have it, but they're not saying these are

16     the only ones.

17                     Your Honor, what we're asking for is that

18     the Court require the defendants to put on the record

19     today all of the information required by section 5, 6,

20     7 of the TRO.       And to the extent they're unwilling to

21     do that, I believe there needs to be a coercive

22     sanction issued; that they be fined a specific amount

23     per day, and/or confined to jail until they comply.

24     That is perfectly within the Court's authority to do,

25     either or both of those things.
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                                                                               20

 1                     In addition to that, Your Honor, we've

 2     asked for compensatory sanctions.             My client has spent

 3     the last 45 days chasing these guys to get compliance

 4     with the contempt order.

 5                     To this point, we've already incurred over

 6     $130,000 in attorneys' fees doing just that, including

 7     having to wait here in the courtroom for three hours

 8     when Mr. Akers didn't appear for the hearing on

 9     October 6th because he had another matter that he

10     didn't tell us about until the last minute.

11                     Also, Your Honor, my client has had to --

12     because of their noncompliance, spend money on

13     additional IT security.          It has hired people at the

14     cost of $15,000 after the TRO was issued to try to

15     figure out if their system was in fact hacked and by

16     whom.

17                     And by them not telling us who all was

18     involved, they've kept us from completing that

19     investigation, so that we can figure out what in fact

20     happened here.       And as counsel just admitted, they

21     don't even know if it was a Konnech computer that was

22     accessed.     After all of this, they don't even know.

23                     Meanwhile, these statements they've made

24     are destroying my client's company, and they're trying

25     to destroy Mr. Yu as well; all based on these
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                                                                               21

 1     podcasts, where they're out there, speaking for hours

 2     on end about something they clearly don't know

 3     about -- or at least they're saying they don't know

 4     about it now.

 5                     They are in direct contempt of this

 6     Court's order.       They have been so for 45 days.            The

 7     fact that they waited until appearing here this

 8     morning to try to say we'll fix it, we finally get it,

 9     that's too late.        The damage has already been done,

10     and they need to be sanctioned for it, Your Honor.

11                     THE COURT:     Let me ask a couple questions,

12     and then you can go ahead and make your statement.

13                     You made a statement earlier -- I couldn't

14     follow.     You said:     We, meaning, I gather, you and/or

15     your clients, went through a lot yesterday.                I don't

16     know what you meant by that, so you can explain that

17     for me.

18                     And, secondly, let me just inform you that

19     the motion for contempt cannot be responded to by a

20     written affidavit at this point in time.               It requires

21     the testimony of persons who are willing and able to

22     testify regarding the circumstances or suffer the

23     consequences, whatever those might be.

24                     So if your client is not willing to

25     testify, then that's certainly their prerogative.                    But
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                                                                               22

 1     they should also be aware that failing to testify

 2     could result in them being incarcerated and held until

 3     they give testimony or take the Fifth Amendment, if

 4     they believe they're going to criminally implicate

 5     themselves.

 6                     And If they think they're going to

 7     criminally implicate themselves, they need to get

 8     counsel and get advice from a criminal defense lawyer,

 9     who can explain to them what the contempt proceedings

10     are about.

11                     This is not criminal contempt.            This would

12     be coercive contempt.         And the point of coercive

13     contempt is they hold the keys to the jailhouse, as we

14     might say.      They can get out any time they want to.

15     All they have to do is comply with the Court's orders.

16                     And with that in mind, you may go ahead

17     and proceed with rest of your comments or responses.

18                     MR. WYNNE:     Yes, Your Honor.        I'll address

19     them in order.       First, with regard to the photograph,

20     my client is bound, of course, to tell the whole

21     truth.    The photograph, as I understand it, is seven

22     years old.      So --

23                     THE COURT:     I'm sorry, the what?

24                     MR. WYNNE:     The photograph --

25                     THE COURT:     Are you talking about what
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                                                                               23

 1     was handed -- let me say this:            If y'all had something

 2     you wanted to work out with counsel, this is not the

 3     time to do it.       You-all have been -- y'all sat here.

 4     I kept you waiting for over an hour.              I mean, you

 5     should have talked to each other about how you could

 6     work this out.       Perhaps some kind of accommodation

 7     could be reached.

 8                     But you cannot tell me what you intend to

 9     do or what you want to do, what your clients might do,

10     as a basis for satisfying the motion for contempt.

11                     MR. WYNNE:     Absolutely.       I was just trying

12     to respond to the comment/suggestion that we did not

13     respond to the offer of the photograph.               We did to the

14     best of our ability today.           And it's seven years old.

15     So that was a challenge.

16                     With regard to -- counsel mentioned that

17     we did not present the California charging document.

18     I understood that the Court did not want to hear about

19     anything that is happened in California.               I have a

20     copy of it right here that I can tender to counsel,

21     along with the Michigan conditions of release.                 I'll

22     do that.

23                     With regard to sub Roman numeral 5, again,

24     my client is under penalty of perjury with regard to

25     this affidavit.       So what happened, based on my
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 24 of 225

                                                                               24

 1     understanding --

 2                     THE COURT:     I'm sorry.      Penalty of

 3     perjury under what --

 4                     MR. WYNNE:     Under the affidavit that I

 5     have prepared and that he has signed by notary.                 So

 6     all that he could say --

 7                     THE COURT:     No.    He's under penalty of

 8     perjury here, too --

 9                     MR. WYNNE:     In this proceeding --

10                     THE COURT:     If he's in this courtroom and

11     he wants to avoid being held in contempt, he will

12     testify today.

13                     MR. WYNNE:     Absolutely.

14                     THE COURT:     Or he will have a better legal

15     excuse than what you're giving now; that is, we're

16     going to get around to it.

17                     MR. WYNNE:     No, no.     Maybe this will be

18     helpful.

19                     THE COURT:     I don't want you to help me.

20     You need to help your client.            I'm not in need.       I'm

21     here to enforce an order that was entered by this

22     Court back on October 17 directing the defendants to

23     show cause why they shouldn't be held in contempt.

24                     You cannot testify for them.           Nothing you

25     say is testimonial.        It's lawyer talk.        And there is
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                                                                               25

 1     nothing you can say that can excuse what the conduct

 2     appears to be.       Only they can testify under oath as to

 3     why these things cannot be.           And I can then judge that

 4     on a credibility basis, et cetera.             Otherwise, your

 5     arguments are simply -- they're not of any weight.

 6                     MR. WYNNE:     I understand, Your Honor.

 7                     May I address the attorneys' fees issue?

 8                     THE COURT:     Certainly.      Go ahead.

 9                     MR. WYNNE:     The concern I have with that,

10     or any response on that, is, it's my understanding

11     that the clients' organization is funded by a

12     political action.

13                     THE COURT:     Say that again.

14                     MR. WYNNE:     My client is funded by a

15     political action committee.           Therefore, I'm hesitant

16     for anyone to pledge the funds of a political action

17     committee to pay attorneys' fees or any ongoing

18     damage.     Just not in a position to do that.             I want to

19     make sure the law is fully complied with.               So I'm

20     guessing that is premature.

21                     THE COURT:     It might be.       And it has

22     nothing to do with me, except the question of whether

23     or not --

24                 (Counsel conversing with each other.)

25                     THE COURT:     I'm sorry, counsel.
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                                                                               26

 1                     It has nothing to do with me except

 2     whether or not there is some basis for some financial

 3     penalty or sanction against your client.               It still

 4     wouldn't be of any concern to me, where they, at least

 5     not my concern, as to how they might satisfy that.

 6                     I'm not of the opinion that monetary

 7     sanctions are necessarily going to satisfy anything.

 8     I am concerned that if the parties have violated state

 9     and federal law, that they account for it.                That is

10     all.     It has nothing to do with how much money anybody

11     has lost.     It has to do with the computer act and the

12     statutes.     It has to do with cyber attacks.             And there

13     is various and plenty of law on the books regarding

14     this.

15                     So what I'm asking you is -- first of all,

16     you have to understand that you can file anything you

17     want.     I think the filing room is on the fifth floor?

18                     THE CASE MANAGER:        Yes, Your Honor.

19                     THE COURT:     You can file anything you want

20     there.     The point I'm making is:          You cannot file

21     anything here.       You cannot pass anything up to me as

22     way of avoiding what has to happen here.               And that is:

23     Either your clients get on the witness stand and

24     testify regarding these situations and explain to it

25     me, or they're going to be held in contempt anyway for
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 27 of 225

                                                                               27

 1     not giving me the information.

 2                     MR. WYNNE:     Let me ask the Court:          If I

 3     put one of my clients on the witness stand, and I

 4     present them with an item that has not yet been

 5     interviewed and it's introduced --

 6                     THE COURT:     What do you mean by has not --

 7                     MR. WYNNE:     That is not in evidence.           Will

 8     this be treated as a trial, where it could have the

 9     witness prove the document up, offer it for admission

10     in this courtroom without going downstairs?

11                     THE COURT:     Not an affidavit.

12                     MR. WYNNE:     No, a regular document.

13                     THE COURT:     I don't know what document you

14     have.    I don't know what value they have.             I think

15     that any evidence that may be presented by your

16     client, or by you, certainly has to pass the evidence

17     test; that is, the persons who are presenting evidence

18     should have some knowledge as to the circumstances

19     that it was developed.         It's either their personal

20     documents or it's the public document.

21                     But if these are documents that have come

22     from somewhere out in the world, and they cannot be

23     authenticated, then that's the first problem.                 That is

24     what the rules say.        Authentication can be a problem.

25                     MR. WYNNE:     That's what I wanted to
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 28 of 225

                                                                               28

 1     confirm.     Thank you, Your Honor.

 2                     I'd ask for a few minutes to confer with

 3     my clients.      Since the Court probably knows, I'm a

 4     criminal defense lawyer as well, and I need to give

 5     them the appropriate admonishments.

 6                     THE COURT:     Certainly.      Feel free.

 7                     Counsel, Mr. Wynne, my case manager is

 8     going to speak to you just briefly.

 9                     Counsel, we're going to take a 15-minute

10     break.     That should be sufficient time for them to

11     discuss these matters with their clients, and I'll be

12     back at 2:05.

13                            (Court in recess.)

14                     THE COURT:     Please be seated.

15                     All right.     Counsel, you may proceed.

16                     MR. WYNNE:     Yes, Your Honor.        Defendants

17     call Gregg Phillips.

18                     THE COURT:     Please come forward, sir.

19     I'll swear you in.

20                     Counsel, all questioning can be done from

21     the podium.      So you can turn it -- no, no.            You can

22     turn the podium itself so that you're facing the

23     witness.

24                     All right.     Let's do a test.

25                     What is your full name?
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                                                                               29

 1                     THE WITNESS:      Gregg Allen Phillips.

 2                     THE COURT:     All right.

 3                     You may proceed.

 4                              GREGG PHILLIPS,

 5      The witness, after being sworn, testified as follows:

 6                             DIRECT EXAMINATION

 7     BY MR. WYNNE:

 8          Q.     Mr. Phillips, you understand that you're one

 9     of the named defendants in this case; correct?

10          A.     Yes, sir.

11          Q.     Would you please very briefly introduce

12     yourself to the Court, including generally your

13     name -- or your -- where you went to college, your

14     age; very general biographical information?

15          A.     Yes, sir.     My name is Gregg Phillips.           I'm 62

16     years old.      I went to University of Alabama and

17     currently have homes in a couple states, including

18     Alabama.

19          Q.     And then what is your current association, if

20     any, with the third named defendant that is True The

21     Vote, Incorporated?

22          A.     A contractor.

23          Q.     Have you ever held any other positions?

24          A.     Yes, sir.     I was on her board -- Tru The

25     Vote's board from 2014 to January or so of 2017.
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                                                                               30

 1          Q.     All that said, do you feel that you are

 2     qualified today to respond to the specific enumerated

 3     items set out in the temporary restraining order on

 4     behalf of all three of the named defendants?

 5          A.     Yes, sir.

 6          Q.     I'm going to hand you a copy of that

 7     temporary restraining order, which is docket entry

 8     number 9 in this proceeding.

 9                     I'm going to turn to the items that were

10     discussed earlier today; those being small Roman

11     numeral 5, 6 and 7.

12                     May I approach?

13                     THE COURT:     Please.

14     BY MR. WYNNE:

15          Q.     Now, you understand the Court has ordered the

16     three defendants to respond to -- I'll start with

17     small Roman numeral 5.

18          A.     Yes, sir.

19          Q.     Would you please read that?

20          A.     "Ordered to identify each individual and/or

21     organization involved in accessing Konnech's protected

22     computers."

23          Q.     How do you understand the term "accessing"?

24          A.     I assume, having some access to the data

25     inside the computer.
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                                                                               31

 1          Q.     Let me ask you to answer that question.

 2     Within your personal knowledge, what is the answer?

 3          A.     Mike Hasson.

 4          Q.     Is that the spelling that has been provided

 5     earlier today?

 6          A.     Yes, sir.

 7          Q.     Do you personally have any address or other

 8     information that might assist someone in locating

 9     Mr. Hasson?

10          A.     No, sir.

11          Q.     When did you first meet him?

12          A.     I probably met him some time in the -- you

13     know, mid-2014, '15.

14          Q.     With regard to this case -- with regard to

15     this case and in responding to the question that the

16     Court has posed, what is the basis for your statement

17     that he is the only one you're aware of who accessed

18     the information stored on what's described as

19     Konnech's computer, although there is some question

20     about actual ownership?          How do you know that?

21          A.     How do I know that he was the only one?

22          Q.     How do you know that he was the one in any

23     respect whatsoever?

24          A.     I was asked to come to a meeting in a hotel

25     in Dallas in -- sometime late January, early February
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                                                                               32

 1     of 2021 I met Mike.        And he plugged his computer into

 2     the -- the television in the hotel room and showed me

 3     what he had found.

 4          Q.     Did any -- forgive me if I get the

 5     terminology -- but did any downloading occur in your

 6     presence in that hotel room when the -- whatever was

 7     up on the TV screen was up on the TV screen -- was any

 8     access happening?

 9          A.     No.

10          Q.     Did it appear to you that any accessing that

11     was done had already been done by the time you walked

12     into the hotel room?

13          A.     Yes, sir.

14                       MR. PAMPHILIS:     Your Honor, I would object

15     to leading the witness.          This is his witness.

16                       THE COURT:   I'll sustain it.

17     BY MR. WYNNE:

18          Q.     What, if anything, was your impression on the

19     temporal relationship -- that is the time relationship

20     between when you walked into the hotel room and

21     whenever whoever it was downloaded the information or

22     data that appeared on the TV monitor that you saw?

23          A.     It took about 20 minutes to get his computer

24     hooked to the television screen.             He had a problem

25     with the cord that needed to hook into the hotel
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 33 of 225

                                                                               33

 1     screen.     Once he pulled it up, he went straight to his

 2     files that he was showing me.

 3          Q.     Was it your impression that information was

 4     actively being retrieved at that moment in the hotel

 5     room, or was it your impression that that had already

 6     been done, and he was showing you something that had

 7     been done in the past?

 8          A.     I think it was being done in the past.              He

 9     certainly wouldn't have been -- there wouldn't have

10     been enough bandwidth at the hotel to download that

11     kind of data.

12          Q.     Do you have, in your possession, a copy of

13     this electronic information that was displayed on that

14     screen in the hotel room in Dallas?

15          A.     No, sir.

16          Q.     Does Ms. Engelbrecht have a copy?

17          A.     No.

18          Q.     Does True The Vote have a copy?

19          A.     No, sir.

20          Q.     Does anybody associated with True The Vote

21     have a copy?

22          A.     No, sir.

23          Q.     Who else, if anyone, in your personal

24     knowledge -- let me put it like this:              To the best of

25     your knowledge, whether direct or indirect, has a copy
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                                                                               34

 1     of that electronic data that you saw on the monitor or

 2     projected on the monitor in --

 3                       MR. PAMPHILIS:     I'm going to object.         That

 4     calls for speculation.         He modified the standard for

 5     the witness's testimony by saying to the best of his

 6     knowledge.

 7                       THE COURT:   I'm going to sustain it as to

 8     the form of the question.

 9     BY MR. WYNNE:

10          Q.     I guess everything is to the best of your

11     knowledge here.        So --

12                       THE COURT:   No, sir.      It's true or not

13     true.     If he doesn't know, that's the answer.

14     BY MR. WYNNE:

15          Q.     Okay.     Who else has copies?

16          A.     Federal Bureau of Investigations.

17          Q.     How do you know that?

18          A.     Because post the meeting, Catherine

19     Engelbrecht and I met with the bureau.              Told them that

20     it exists, told them who had it, and he transmitted it

21     to the bureau.

22          Q.     Did you ever have a copy of the electronic

23     data on your computer or otherwise in your individual

24     possession?

25          A.     No.
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                                                                               35

 1          Q.     Let's move on to item 6.          I ask you to read

 2     that, please.

 3          A.     "Ordered to confidentially disclose to

 4     Konnech how, when and by whom Konnech's protected

 5     computers were accessed."

 6          Q.     Are you and the other co-defendants willing

 7     to confidentially engage in that exercise in general?

 8          A.     To the best of my ability, sure.

 9          Q.     Now, I want to try -- I'm going to ask you a

10     question right here.         How, when and by whom were

11     what's described as Konnech's protected computers -- I

12     know there is a question about that, how that is

13     modified -- were accessed, within the confines of this

14     case?     I'm not talking about somebody else doing

15     something we don't know about.            But what is your

16     answer to this question?

17                     THE COURT:     Is this still on 6?

18                     MR. WYNNE:     6, yes.

19                     THE COURT:     Okay.

20                     THE WITNESS:      I don't know how it was

21     accessed.     I know it was accessed because I saw it,

22     and I subsequently learned that the information had

23     become important to the FBI.

24                     The when, given the size of the data that

25     I understand was downloaded, it was somewhere in the
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                                                                               36

 1     350-terabyte range, and was downloaded over

 2     approximately three months in the first quarter of

 3     2021.

 4     BY MR. WYNNE:

 5            Q.      Is that your educated guess as to when and

 6     how long it took?

 7            A.      Yes.

 8            Q.      And the last part, by whom was this

 9     information -- again qualifying who owns and doesn't

10     own.        By whom was it accessed?

11            A.      Mike Hasson.

12            Q.      What's the basis of that answer?

13            A.      Because Mike subsequently transmitted the

14     information to the FBI.

15            Q.      Now I'm going to move to number 7.          And would

16     you read that, please?

17            A.      Yes, sir.   "Ordered to identify all persons

18     or entities in defendants' knowledge who have had

19     possession, custody or control of any information or

20     data from Konnech's protected computers."

21            Q.      Okay.   I'm go to add the same qualification.

22     There is some question about whether Konnech actually

23     owned the protected computers.

24                       Subject to that qualification, what is the

25     answer?
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 37 of 225

                                                                               37

 1          A.     Mike Hasson and the FBI.

 2          Q.     And I'm going to --

 3                     MR. WYNNE:     I'm going to pass the witness.

 4                     MR. PAMPHILIS:       Your Honor, can we turn on

 5     the monitors?       There may be some exhibits that need to

 6     be shown throughout the courtroom.

 7                     THE COURT:     You can try and let's see if

 8     it will show up.        Have you connected by laptop into

 9     the system?

10                     MR. PAMPHILIS:       He did it the last time we

11     were here.

12                     THE COURT:     Is that Nathan Richardson?

13                     MR. RICHARDSON:        Yeah.

14                     THE COURT:     Gentlemen, do y'all have the

15     images on the screen there before you?

16                     MR. WYNNE:     Yes, Your Honor.

17                     THE COURT:     Okay.

18                              CROSS-EXAMINATION

19     BY MR. PAMPHILIS:

20          Q.     Good afternoon, Mr. Phillips.

21                     Mr. Phillips, you still have the TRO in

22     front of you; correct?

23          A.     Yes, sir.

24          Q.     As I understand from your testimony, most of

25     what you say happened with the data at issue here was
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 38 of 225

                                                                               38

 1     something that Mike Hasson did; correct?

 2          A.     Yes.

 3          Q.     Did you meet Mike Hasson for the first time

 4     in that hotel room in Dallas in 2021?

 5          A.     No, sir.

 6          Q.     You had met him back in 2014; right?

 7          A.     Approximately.

 8          Q.     In connection with what?

 9          A.     I don't know.      I think we were at a meeting

10     together.

11          Q.     Do you know what the meeting was about?

12          A.     I don't.

13          Q.     Was it an organization that was meeting?

14          A.     I don't know.

15          Q.     Okay.    Was that the only time you had met

16     Mike Hasson before meeting him in that hotel room in

17     2021?

18          A.     I think so.

19          Q.     Were there other people there in 2014?

20          A.     Yes.

21          Q.     How many other people?

22          A.     One.

23          Q.     Who?

24          A.     Oh, in 2014?

25          Q.     Yes, sir.
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                                                                               39

 1          A.     I'm so sorry.      I don't recall the meeting.

 2     So I assume probably a lot more, yeah.

 3          Q.     So by your answer, I take it, there was

 4     somebody else in that hotel room with you and

 5     Mr. Hasson in January of 2021, wasn't there?

 6          A.     Yes.

 7          Q.     Who was that?

 8                     MR. WYNNE:     Your Honor, I'm object.          This

 9     is beyond the scope.

10                     THE COURT REPORTER:        Can you speak into a

11     mic, please?

12                     MR. WYNNE:     I have to object.        Because

13     this is beyond the scope.          I also have a concern, not

14     only that, but the answer may compromise a

15     confidential informant of the FBI.

16                     THE COURT:     How do you know all of this?

17     Have you talked to the FBI?

18                     MR. WYNNE:     I --

19                     THE COURT:     I'm sorry.      That's a yes-or-no

20     question.

21                     Have you talked or discussed this matter

22     with the FBI?

23                     MR. WYNNE:     This matter, I have not

24     discussed with the FBI.

25                     THE COURT:     Overruled.      Let's proceed.
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                                                                               40

 1                     MR. PAMPHILIS:       Thank you, Your Honor.

 2     BY MR. PAMPHILIS:

 3          Q.     Who else was in that room with you and

 4     Mr. Hasson in Dallas of January of 2021?

 5          A.     A confidential informant for the FBI.

 6          Q.     What's his name?

 7          A.     I'm not at liberty to say.

 8                     THE COURT:     You are at liberty to say

 9     because I'm ordering you to give the name.

10                     THE WITNESS:      I'm a confidential

11     informant, too.       I can't do it.

12     BY MR. PAMPHILIS:

13          Q.     You're refusing to answer the question, sir?

14          A.     Yes.

15                     MR. PAMPHILIS:       Your Honor, we ask that

16     Mr. Phillips be held in contempt for refusing to

17     answer this question.         This concerns item number 5 in

18     the TRO; specifically, who was involved in accessing

19     Konnech's protected computers.

20                     This individual was in the room when it

21     was being accessed.         He was involved.       He should be

22     identified.

23                     THE COURT:     Let's proceed.       Keep asking

24     questions.      Let's go.

25     BY MR. PAMPHILIS:
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                                                                               41

 1            Q.   Was there anybody, other than you,

 2     Mr. Hasson, and this confidential informant, as you

 3     say, that you won't identify, in that hotel room that

 4     night?

 5            A.   No.

 6            Q.   What's your relationship with this other

 7     individual that was there?

 8            A.   He was a contractor.

 9            Q.   He was a contractor for you?

10            A.   Yes.

11            Q.   Was he someone that you paid to be there?

12            A.   Yes -- no, not to be there, but he was a

13     contractor.

14            Q.   Did you have a contractual relationship with

15     him?

16            A.   Earlier in 2020, yes.

17            Q.   What was the nature of the contractual

18     relationship?

19            A.   Advised me.

20            Q.   On what sort of matters?

21            A.   Matters about election intelligence.

22            Q.   Is he the one who arranged this meeting

23     between you and Mr. Hasson in that hotel room in

24     January of 2021?

25            A.   I don't know.      I don't think so.
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                                                                               42

 1          Q.     Who told you where the meeting was going to

 2     be and when?

 3          A.     Mike.

 4          Q.     So Mr. Hasson contacted you directly to

 5     arrange the meeting.           Is that right?

 6          A.     As I recall.

 7          Q.     Did he call you?

 8          A.     Probably not.

 9          Q.     Did he e-mail you?

10          A.     Probably used an app.

11          Q.     He contacted you on social media you think?

12     Is that it?

13          A.     No.     On a messaging app.

14          Q.     Do you know which messaging app?

15          A.     I don't.

16          Q.     Was it a text?

17          A.     No.     A messaging app.

18          Q.     Like WhatsApp?

19          A.     No.     We don't use WhatsApp.

20                       THE COURT:     I'm sorry?

21                       THE WITNESS:     We don't use WhatsApp.

22     BY MR. PAMPHILIS:

23          Q.     What sort of messaging apps would you have

24     used in 2021, sir?

25          A.     Wickr, Signal.        There's quite a number of
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                                                                               43

 1     them.

 2          Q.     Could you tell that it was Mr. Hasson that

 3     was contacting you by this messenger app?

 4          A.     I don't recall the message.           So I don't know.

 5          Q.     Did you see the message on your phone or on a

 6     computer?

 7          A.     Probably on my phone, but I don't know.

 8          Q.     Do you still have the message?

 9          A.     No.

10          Q.     So what did Mr. Hasson say the purpose of

11     this meeting was going to be?

12          A.     That he had encountered some information he

13     thought was important for me to see.

14          Q.     Did he tell you what it was?

15          A.     No.

16          Q.     Now, you're aware, sir -- you frequently

17     appear on podcasts, talking about this meeting that

18     we're talking about here; right?             You know that?

19          A.     Sure.

20          Q.     And, in those podcasts, do you recall

21     referring to the people you were meeting with as "your

22     guys"?

23          A.     I have no idea.

24          Q.     Do you recall referring to them as "your

25     analysts"?
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                                                                               44

 1          A.     I'm a confidential informant.           I refer to

 2     people that I meet with in a lot of different manners.

 3          Q.     You don't recall that, though, sir?

 4          A.     I don't remember.

 5                       MR. PAMPHILIS:     Your Honor, we would like

 6     to present a video from one of these podcasts.                 It's

 7     very short, 30 seconds.

 8                       THE COURT:   All right.

 9                            (The video played.)

10     BY MR. PAMPHILIS:

11          Q.     So the time that you met Mr. Hasson in the

12     hotel room in January of 2021, that was only the

13     second time you had met him.           Is that right?

14          A.     As far as I'm aware.

15          Q.     Had you been in communication with him in

16     between 2014 and 2021?

17          A.     Not that I recall.

18          Q.     Did you know anything about his background?

19          A.     No.

20          Q.     You didn't know where he worked?

21          A.     Nope.

22          Q.     Do you know anything about any political

23     organization he was affiliated with?

24          A.     No, sir.

25          Q.     Do you know who his parents are?
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                                                                               45

 1          A.     No.

 2          Q.     This is someone you didn't know at all

 3     basically, is that fair, when you went to that hotel

 4     room in January of 2021?

 5          A.     Except that he was a confidential informant.

 6                       THE COURT:     I'm sorry.    Who are you

 7     calling a confidential informant?

 8                       THE WITNESS:     Mike Hasson.

 9     BY MR. PAMPHILIS:

10          Q.     Did Mike Hasson tell you he's a confidential

11     informant?

12          A.     No.     I knew it because I am an informant.

13          Q.     So who told you that Mr. Hasson was a

14     confidential informant?

15          A.     The bureau.

16          Q.     Who?

17          A.     I don't recall.        I work with a lot of people

18     at the bureau.

19          Q.     Was it a special agent who told you that?

20          A.     Sure.

21          Q.     Do you know where that special agent offices

22     out of?

23          A.     I don't.

24          Q.     Do you know if it's a special agent here in

25     Texas?
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                                                                               46

 1            A.   It might be.

 2            Q.   Did you have that information when you went

 3     to meet with Mr. Hasson in January of 2021 that he was

 4     a confidential informant, as you were told?

 5            A.   I think so.

 6            Q.   Did you have reason to believe that

 7     Mr. Hasson was someone that you could trust?

 8            A.   Sure.

 9            Q.   Do you know anything about where he got the

10     data that he showed to you in that hotel room?

11            A.   He told me that he accessed it from a server

12     in China.

13            Q.   Did he mention the name "Konnech" in that

14     regard?

15            A.   Not directly, but it was indirectly related

16     because of the way that he showed me where the server

17     was.

18            Q.   Were you able to independently verify that

19     that data you were seeing came from a Konnech server

20     in China?

21            A.   Was I able to?       No, but that's not my job.

22     My job was to -- once I learned it, to hand off the

23     information to the FBI.

24            Q.   Your job for who?

25            A.   The FBI, as a confidential informant.
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                                                                               47

 1           Q.    Does the FBI pay you to be a confidential

 2     informant?

 3           A.    No.

 4           Q.    When do you claim you first became an FBI

 5     confidential informant?

 6           A.    When do I claim it or when did it happen?

 7           Q.    I'm asking when you claim it happened.

 8           A.    Around January of 2021.

 9           Q.    So you'll recall on these podcasts that you

10     told your viewers, your followers, that you got this

11     data, turned it over to the FBI, and that the FBI

12     started investigating you.           Do you recall that?

13           A.    That's out of context.

14           Q.    Is that what you said, sir?

15           A.    I don't have any idea what I said.

16           Q.    You can't recall it?         Is it true that the FBI

17     investigated you after you provided this data that

18     Mike Hasson gave you?

19           A.    No, it's not true.

20           Q.    So if you said that, that's not true; right?

21           A.    That's not what I'm saying at all.             I'm just

22     saying that that is not true.

23           Q.    Is the FBI investigating you, sir?

24           A.    As far as I know, they're not investigating

25     me.
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 48 of 225

                                                                               48

 1            Q.   Have you ever known that they were

 2     investigating you?

 3            A.   No.

 4                       MR. PAMPHILIS:     Can we play the video now,

 5     Your Honor?

 6                       THE COURT:     Certainly.

 7                       MR. PAMPHILIS:     I'm going to continue on

 8     while he tries to fix this issue.             It's frozen on him.

 9                       THE COURT:     Okay.

10     BY MR. PAMPHILIS:

11            Q.   So, sir, you never attempted to confirm that

12     the data that Mike Hasson showed you actually came

13     from a Konnech computer, did you?

14            A.   No.     I turned it over --

15                       THE COURT:     I'm sorry.    You all -- if

16     y'all are going to talk, you got to go outside.                 You

17     can't keep just moving around in the courtroom.

18                       Let's proceed.

19                       THE WITNESS:     We turned it over to the

20     FBI.

21     BY MR. PAMPHILIS:

22            Q.   Let me ask the question again.            I want the

23     record to be clear.

24                       Sir, you never attempted to confirm that

25     the data that Mike Hasson showed you came from a
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 49 of 225

                                                                               49

 1     Konnech computer, did you?

 2          A.     No.

 3          Q.     Did anybody at your direction attempt to

 4     confirm that that data came from Konnech?

 5          A.     I worked with the FBI for 15 months on the

 6     project.

 7          Q.     Sir, I'm asking -- are you saying that the

 8     FBI attempted to confirm it?

 9          A.     Yes.

10          Q.     And I'm not asking you what the FBI said.

11                       Who at the FBI were you working with?

12          A.     Two counterintelligence agents out of the

13     Detroit office.

14          Q.     Who are they?

15          A.     We've got the names.         We could provide them.

16          Q.     Do you recall their names?

17          A.     I don't recall right off the top of my head.

18          Q.     Can't recall a first or last name?

19          A.     No, because they go by other names often.

20                       MR. PAMPHILIS:     We'll try the video one

21     more time.

22                       I'll continue on so we're not interrupted.

23     BY MR. PAMPHILIS:

24          Q.     Sir, you testified a moment ago that you

25     believe that data that Mr. Hasson downloaded was 350
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 50 of 225

                                                                               50

 1     terabytes of data?

 2          A.     Yes, sir.

 3          Q.     Where did you get that number?

 4          A.     From Mr. Hasson.

 5          Q.     Did he tell you that day, that night, in the

 6     hotel?

 7          A.     I don't recall.

 8          Q.     Have you spoken with Mr. Hasson since meeting

 9     him in that hotel room in January of 2021?

10          A.     Once or twice.

11          Q.     Did you communicate face to face?

12          A.     No.

13          Q.     How do you communicate?

14          A.     Via messaging app.

15          Q.     Which one?

16          A.     I don't recall.

17          Q.     When was the last time you spoke with

18     Mr. Hasson?

19          A.     February.

20          Q.     February of what year?

21          A.     January.     I haven't -- last time I spoke with

22     him or communicated via the app?

23          Q.     When is the last time you communicated with

24     Mike Hasson in any way?

25          A.     I think February.
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                                                                               51

 1          Q.     Of what year?

 2          A.     2022.

 3          Q.     So about 13 months after you had met him in

 4     the hotel room?

 5          A.     Yes.

 6          Q.     What was the purpose of that communication?

 7          A.     I don't recall.

 8          Q.     Who contacted who?

 9          A.     I don't recall that either.

10          Q.     When you left that hotel room in January of

11     2021, did you leave with any electronic device that

12     had any of that 350 terabytes of data on it?

13          A.     No.

14          Q.     So you didn't have a hard drive of data from

15     that meeting in January of 2021, did you?

16          A.     I don't think so.

17          Q.     You're not sure?

18                       THE COURT:     I'm sorry.    Either you had it

19     or you didn't.

20                       THE WITNESS:     I don't remember, sir.

21                       THE COURT:     Then that's the answer.

22                       THE WITNESS:     Okay.   I'm sorry.      I don't

23     recall.

24     BY MR. PAMPHILIS:

25          Q.     You can't recall?
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                                                                               52

 1          A.     I can't recall.

 2          Q.     Do you recall looking at any of that data

 3     that Mr. Hasson showed you in the hotel room that

 4     night since that night?

 5          A.     I suspect there were probably a few times

 6     where we went over with the FBI, But I don't recall.

 7          Q.     You can't recall if you did or not; right?

 8          A.     I don't.

 9          Q.     Now, on one of your podcasts, you said that

10     after you finished that meeting, you got in the car,

11     and you drove down to Houston to meet Ms. Engelbrecht.

12     Do you recall that?

13          A.     Yes.

14          Q.     Do you recall sharing any of the data with

15     Ms. Engelbrecht when you met with her after that

16     meeting?

17          A.     No.

18          Q.     At any point in time, did you share that data

19     with Ms. Engelbrecht?

20          A.     No.

21          Q.     Sir, who has authorized you to speak on

22     behalf of True The Vote and Ms. Engelbrecht here

23     today?

24          A.     Ms. Engelbrecht.

25          Q.     She gave you authority to speak on her
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 53 of 225

                                                                               53

 1     behalf?

 2          A.     Yes.

 3          Q.     Have you interrogated Ms. Engelbrecht the way

 4     that you're being interrogated here about these

 5     issues, to know -- to be able to testify on her

 6     behalf?

 7          A.     She wasn't in the room.

 8          Q.     Sir, that wasn't my question.           My question --

 9          A.     I've never interrogated Ms. Engelbrecht.

10          Q.     Have you asked her these questions that

11     you're being asked here today so that you could

12     testify accurately on her behalf?

13          A.     We've discussed this topic many times.

14          Q.     You don't know what's in Ms. Engelbrecht's

15     head, do you?

16          A.     No, sir.

17          Q.     Unless she tells you; right?

18          A.     I still don't know what's in her head.

19          Q.     Do you know if she, for example, ever

20     communicated with Mike Hasson without you present?

21          A.     I don't know.

22          Q.     Do you know if she, for example, ever

23     communicated with this other person, who you won't

24     identify for us, without you present?

25          A.     I don't know.
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                                                                               54

 1            Q.   Do you know if Ms. Engelbrecht ever saw any

 2     data from a Konnech computer?

 3            A.   She has indicated many times that she has

 4     not.

 5            Q.   She has not?

 6            A.   She has not.

 7            Q.   That's what she told you; right?

 8            A.   Yes.

 9            Q.   You don't live with Ms. Engelbrecht, do you?

10            A.   No.

11            Q.   Have you lived together with one another?

12            A.   No.

13            Q.   You live in different states; right?

14            A.   Yes.

15            Q.   And so how was the data sent from Mr. Hasson

16     to the FBI?

17            A.   They have a method to transmit large chunks

18     of data directly to them.

19            Q.   What's that method?

20            A.   I didn't do it.       You'd have to ask Mike.

21            Q.   Were you involved in it being done?

22            A.   No.

23            Q.   Did you see it being done?

24            A.   No.

25            Q.   Who told you it was done?
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                                                                               55

 1          A.     The FBI.

 2          Q.     Did they tell you when it happened?

 3          A.     I assume some time in the first Q-1 of 2021.

 4          Q.     So you leave the hotel in January of 2021,

 5     having met with Mr. Hasson and this other person you

 6     won't identify.        How long was it after you left that

 7     hotel room when you went to the FBI to talk about what

 8     you saw?

 9          A.     I think we called them a couple days later --

10     or I called them a couple days later.              We actually did

11     the formal complaint as a CI sometime probably a month

12     or so after.

13          Q.     You first said "we called them."            Was

14     somebody else with you when you called?

15          A.     No.    I say "we" all the time.

16          Q.     No one was with you?

17          A.     Them, the FBI.

18          Q.     No.    I'm asking who was with you when you

19     contacted the FBI to tell them what you saw in that

20     hotel room in January of 2021.

21          A.     No one.     Me.

22          Q.     How did you contact them?

23          A.     Via messaging appear.

24          Q.     The FBI?

25          A.     Yes.
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                                                                               56

 1            Q.   Which messaging app?

 2            A.   I don't recall.

 3            Q.   Do you have any of those messages with the

 4     FBI?

 5            A.   I think we do have some.

 6            Q.   You saw "we do."       Do you have them?

 7            A.   I don't have them with me.           I don't have my

 8     phone.

 9            Q.   Did you text with the FBI about this?

10            A.   Not text.     Messaging app.

11            Q.   But your belief is that the FBI then received

12     these materials from Mr. Hasson sometime in February

13     of 2021.     Is that right?

14            A.   No.   I think I said Q-1 of 2021.

15            Q.   So sometime before the end of March of 2021;

16     is that what you're saying?

17            A.   Approximately, yeah.

18            Q.   Would these communications that you think you

19     have tell us exactly when that happened?

20            A.   I don't know.

21            Q.   And do you know who specifically that

22     information from Mr. Hasson was provided to at the

23     FBI?

24            A.   Probably Huy Nguyen, the name we provided

25     earlier.
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                                                                               57

 1          Q.     Probably Mr. Nguyen?

 2          A.     Yes, sir.

 3          Q.     Anybody else?

 4          A.     There were two or three people in that

 5     office.     So there might have been others on the call.

 6     I don't recall.

 7          Q.     In that office -- which office was that?

 8          A.     He works -- I think at the time he was

 9     working out of maybe Laredo.           I don't really recall.

10          Q.     Okay.     Were any of the FBI agents that you

11     say you dealt with on this matter located in San

12     Antonio?

13          A.     Yes.

14          Q.     Who?

15          A.     I mean, Huy.      The names we provided earlier.

16          Q.     Who was in Laredo?

17          A.     Huy.

18          Q.     Nguyen you mean?

19          A.     Yes.

20          Q.     As in N-G-U-Y-E-N?

21          A.     Yes.

22          Q.     Was he in Laredo or San Antonio or both?

23          A.     Laredo at the time I believe.           It might be

24     Eagle Pass.        I am not sure.

25          Q.     Did he then move to San Antonio?
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                                                                               58

 1          A.     I don't know the answer to that.

 2          Q.     You don't know if he's the same --

 3                       THE COURT REPORTER:      Counsel, I did not

 4     hear the question.

 5     BY MR. PAMPHILIS:

 6          Q.     So you don't know if Mr. Nguyen is a San

 7     Antonio field agent or not?

 8          A.     I don't believe he's a field agent.             I

 9     believe he's a representative of the intelligence

10     community in the FBI.

11          Q.     Was there anybody else involved in accessing

12     this data in that hotel room that you saw, other than

13     Mike Hasson, yourself, and this person who you will

14     not identify?

15          A.     Mr. Hasson was the only one that accessed the

16     data that night.

17          Q.     Sir, listen very carefully.           I'm asking

18     because the TRO says "anyone who was involved."

19                       So was there anybody else involved in

20     accessing that data, other than yourself, Mr. Hasson,

21     and this other individual you won't identify?

22          A.     No.

23          Q.     Do you know if Mr. Hasson had the help of

24     anybody else in accessing it before he arrived in that

25     hotel room?
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                                                                               59

 1          A.     I don't know.

 2          Q.     Did you actually look at the data when you

 3     were in that hotel room?

 4          A.     Yes.

 5          Q.     Was there anything on the data that you saw

 6     that indicated it came from Konnech?

 7          A.     Well, it came from an IP address that the URL

 8     that they were accessing it through resolved to.                  Yes.

 9          Q.     Was there anything on the data itself that

10     said "Konnech"?

11          A.     Yes.

12          Q.     Not the URL.      That said it on the data you

13     were looking at?

14          A.     There was all sorts of folders and things

15     that were being accessed.          So, sure.

16          Q.     And how many -- you characterized it before

17     as poll worker records.          Is that what it was?

18          A.     It's the tip of the iceberg, but that was

19     some of it, yeah.

20          Q.     How many poll worker records were there?

21          A.     There were 1.8 million records in that

22     particular system.        But it wasn't just -- the way that

23     they configure everything, it wasn't just poll

24     workers.     It was election judges.          There was all sorts

25     of entries for the equipment; different software they
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 60 of 225

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 1     used.     There were millions of entries in the

 2     spreadsheet.

 3          Q.     Did you take any notes of what you saw?

 4          A.     No, sir.

 5          Q.     Did you take any pictures of what you saw?

 6          A.     No, sir.

 7          Q.     Did you see anyone in the room that night

 8     taking pictures or notes of what was on the screen?

 9          A.     No, sir.

10          Q.     How long did y'all look through the data?

11          A.     Three or four hours.

12          Q.     Did you ever confirm that any of the names of

13     the people you saw were for real people?

14          A.     It wasn't my job.        I think the FBI did,

15     though.

16          Q.     Sir, that wasn't my question.           I asked you --

17          A.     No, I didn't.

18          Q.     -- did you -- you did not?

19                     You don't know if you were looking at

20     dummy data or not, do you?

21          A.     That night, no.

22          Q.     You believe you know now that it is dummy

23     data or not?

24          A.     It's not dummy data.

25          Q.     So you've seen the data since then?
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                                                                               61

 1          A.     Nope.

 2          Q.     Somebody told you it's not dummy data?

 3          A.     No.

 4          Q.     Then how do you know it's not dummy data?

 5          A.     Because it's been accessed since then

 6     recently.

 7          Q.     By whom?

 8                       THE WITNESS:     I'm not sure I'm allowed to

 9     say, Judge.

10                       THE COURT:     You can answer the question.

11     That's what you can do.

12                       THE WITNESS:     Los Angeles County.

13     BY MR. PAMPHILIS:

14          Q.     How did they access it?

15          A.     I don't know.

16          Q.     Did you help them access it?

17          A.     No.

18          Q.     Did Mike Hasson help them?

19          A.     No, sir.

20          Q.     Do you know what data the L.A. County D.A.

21     accessed?

22          A.     No.

23          Q.     Do you know how they accessed it?

24          A.     No.

25          Q.     Okay.     So you don't know if the L.A. County
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 62 of 225

                                                                               62

 1     D.A. accessed the data that you saw with Mike Hasson,

 2     do you?

 3            A.      We know what we've been told by L.A. County,

 4     yes.

 5            Q.      That they accessed the same data that you

 6     saw?        That's what L.A. County told you?

 7            A.      Yes.

 8            Q.      Did they tell you they did it in the same way

 9     that Mike Hasson did it?

10            A.      No idea.   They don't know who Mike Hasson is.

11            Q.      Did they tell you how they accessed it?

12            A.      No.

13            Q.      Who specifically told you that at the L.A.

14     D.A.'s office?

15            A.      There were several people that we've been in

16     contact with.         I mean, I can get you the names.          I

17     don't know off the top of my head.

18            Q.      That matter in L.A. is one that you started,

19     isn't it?

20            A.      No, sir.

21            Q.      You've seen the L.A. D.A. come out and say

22     that it started with a phone call from you; right?

23            A.      That's false.

24            Q.      That's false?

25            A.      That's false.
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                                                                               63

 1          Q.     What's the truth then?

 2          A.     They contacted me --

 3                     MR. WYNNE:     Your honor --

 4                     THE COURT:     Hold on.      Hold on.

 5                     Yes, sir?

 6                     MR. WYNNE:     I object.      This is far outside

 7     the scope of this hearing and certainly direct

 8     examination.       The Court didn't want to get into things

 9     going on outside of this proceeding.              It's gone way

10     outside of this proceeding.

11                     THE COURT:     That is overruled.

12                     The thing that this witness has been asked

13     are the names of people who have accessed this data,

14     and those names would be proper names for this Court.

15                     MR. WYNNE:     Understood.

16     BY MR. PAMPHILIS:

17          Q.     And so who specifically at the L.A. -- in

18     L.A. County or the L.A. D.A.'s office are you saying

19     accessed this data?

20          A.     I don't know who accessed the data.

21          Q.     You don't know?       You don't know what data

22     they accessed either, do you?

23          A.     Actually, I do.

24          Q.     Because they told you?

25          A.     Yes.
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 64 of 225

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 1            Q.      But you don't know who they are?

 2            A.      Well, I think that was the point of the call

 3     that we were trying to have earlier that didn't work

 4     out.        So...

 5            Q.      Sir, that's not an answer to the question.

 6            A.      Well, that's the answer to the question

 7     because that's the name of the individual.

 8            Q.      I am asking simply what you know.

 9                          Do you know the name of the individual who

10     accessed this Konnech data?

11            A.      That accessed it, no.

12                          MR. PAMPHILIS:   We'll try one more time on

13     this clip.

14                               (The video played.)

15     BY MR. PAMPHILIS:

16            Q.      Is that true that when you met Mr. Hasson in

17     that hotel room in Dallas that someone was putting

18     towels under the door?           Is that true?

19            A.      Yes.

20            Q.      Who put the towels under the door?

21            A.      I don't remember.

22            Q.      Is that because you guys knew that what you

23     were doing wasn't legal?

24            A.      No.

25            Q.      Are you trying to hide your activities from
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 65 of 225

                                                                               65

 1     other people?

 2          A.     No.

 3          Q.     Did you arrive with somebody else to that

 4     meeting?

 5          A.     No.

 6          Q.     Did you or any of the other people at that

 7     meeting have guns that they put on a table before the

 8     meeting?

 9          A.     Yes, sir.     I have a concealed carry.           I carry

10     almost every day.

11          Q.     So you showed up with a gun and you put it on

12     the table in the room.           Is that what you did?

13          A.     I didn't, but the other two people we were

14     with did.

15          Q.     Everyone in that room was armed?

16          A.     There were only three people, but yes.

17                       THE COURT:     You're a little bit too close

18     to the microphone.

19                       THE WITNESS:     There were only three

20     people.

21     BY MR. PAMPHILIS:

22          Q.     Is it true you arrived at that room sometime

23     around midnight?

24          A.     Probably 11-ish.

25          Q.     You spent roughly four hours looking at this
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 1     data?

 2          A.     Yes, sir.

 3          Q.     Were all three of you looking at the data?

 4          A.     It was mostly me and Hasson.

 5          Q.     And did you see how Mr. Hasson accessed the

 6     data?

 7          A.     No, sir.

 8          Q.     He already had it downloaded somewhere else,

 9     and then he showed it to you.            Is that how it worked?

10          A.     I don't know the answer to that, but I

11     believe that is true, yes.

12          Q.     Because it was so large, you believe that he

13     connected to the internet and was able to pull the

14     data from another computer?

15          A.     I don't know.

16          Q.     Do you know if Mr. Hasson still has that

17     data?

18          A.     I do not know.

19          Q.     Do you know anybody other than the FBI that

20     has that data?

21          A.     No, sir.

22          Q.     You've never provided that data to any other

23     law enforcement, have you?

24          A.     No, sir.

25          Q.     And you're not the one who provided it to the
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 1     FBI either, are you?

 2          A.     There is some question about whether there

 3     was a file that was passed through, but I don't

 4     remember it.

 5          Q.     What's the question?

 6          A.     The question is, do I remember it.             I don't

 7     remember.

 8          Q.     No, what's the question about a file that

 9     passed through?       You mean passed through you?

10          A.     That Hasson may have sent and then they send

11     it on.    But it would have been too big to send via

12     e-mail.     So we don't think so.

13          Q.     You're not sure?       You haven't investigated it

14     to figure that out?

15          A.     Yeah.    We've talked to some of my people, and

16     the files were just too big.           They wouldn't have gone

17     across e-mail.

18          Q.     Have you gone back to look at your e-mails

19     from that time frame to see if you had any e-mails

20     from Mike Hasson --

21          A.     Yes.

22          Q.     Did you find any?

23          A.     No.

24          Q.     Did you go back and look at your messenger

25     app to see if you had messages from Mike Hasson?
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 1          A.     Yes.

 2          Q.     Do you find any?

 3          A.     No.

 4          Q.     Did you look for any texts that you might

 5     have had with Mr. Hasson?

 6          A.     Yes.

 7          Q.     Have you found any?

 8          A.     No.

 9          Q.     Do you know if Ms. Engelbrecht has ever

10     communicated with Mr. Hasson?

11          A.     I don't know.

12          Q.     Did you used to be a -- you used to be a

13     board member of True The Vote; right?

14          A.     Yes.

15          Q.     In 2014 to 2017?

16          A.     Yes.

17          Q.     Did you immediately then change to becoming a

18     contractor to True The Vote?

19          A.     No, sir.

20          Q.     Was there some lapse in between the time you

21     were a board member and a contractor?

22          A.     Two, three years.

23          Q.     What were you doing in between then?

24          A.     Working on my software company.

25          Q.     What company is that?
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 1          A.     CoverMe.

 2          Q.     When did you become a contractor to True The

 3     Vote?

 4          A.     Summer of 2020.

 5          Q.     Summer of 2020?

 6          A.     Summer of 2020.

 7          Q.     Did you have a contract with True The Vote?

 8          A.     I think we do have a written contract, yes.

 9                       THE COURT:     Who is "we"?

10                       THE WITNESS:     Me and True The Vote.

11                       THE COURT:     Okay.

12                       THE WITNESS:     I'm sorry.

13     BY MR. PAMPHILIS:

14          Q.     Is there a set amount of money that you get

15     paid by True The Vote as a contractor for them?

16          A.     No.     It's a project claim basis.

17          Q.     You agree to do certain projects in return

18     for payment?

19          A.     Yes, sir.

20          Q.     How much have you been paid by True The Vote

21     since you became a contractor?

22          A.     I have no idea.

23          Q.     Do you know the order of magnitude; whether

24     it's over a million dollars?

25          A.     I don't.
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 1            Q.   Do you have any other source of income other

 2     than that?

 3            A.   My company.

 4            Q.   So with respect to item number 6 in the

 5     TRO -- your lawyer went over that -- I understand that

 6     you say you're willing to confidentially disclose to

 7     Konnech how, when and by whom Konnech's protected

 8     computers were accessed.

 9                     That hasn't been done yet, has it?

10            A.   I don't know how.

11            Q.   So that wasn't my question.           That hasn't been

12     done yet, has it?

13            A.   Well, when has and by whom has.            It's the

14     how.

15            Q.   By you specifically; right?

16            A.   What do you mean?

17            Q.   Okay --

18                     MR. WYNNE:     Your Honor, I'm going to

19     object to the extent that's invading attorney-client

20     privilege communication.

21                     THE COURT:     Overruled.

22     BY MR. PAMPHILIS:

23            Q.   Sir, we haven't heard from anybody other than

24     you about any of these items, have we?

25            A.   Right.
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 1            Q.   We haven't heard from someone who is actually

 2     an employee or agent of True The Vote, have we?

 3            A.   I think as a contractor, I'm an agent.              But

 4     I'm not a lawyer.        So I don't know.

 5            Q.   You're not an employee of True The Vote, are

 6     you?

 7            A.   No.

 8            Q.   Not an officer or director, are you?

 9            A.   No, sir.

10            Q.   Catherine Engelbrecht is the president of

11     that company, isn't she?

12            A.   Yes.

13            Q.   We haven't heard from her, have we?

14            A.   She wasn't there.

15            Q.   That wasn't my question.

16                       We haven't heard from her on this?

17            A.   I don't know.

18            Q.   You've been in the courtroom all day.              Have

19     you heard her get on the stand and testify?

20                       Have you?

21            A.   No.

22            Q.   For section 7:       "Identify all persons and

23     entities in your knowledge who had possession of any

24     data from a Konnech protected computer."

25                       Who do you identify?
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 1          A.     Mike Hasson and the FBI.

 2          Q.     And even though you saw it, you don't think

 3     that you ever had possession of it?

 4          A.     No, sir.

 5          Q.     Even though you saw it for four-and-a-half

 6     hours?

 7          A.     Yes, sir.

 8          Q.     And are you in a position to say whether the

 9     L.A. County D.A. ever had it?

10          A.     This data?     No, sir.

11          Q.     Did the L.A. D.A. show you what data they do

12     have?

13          A.     No, sir.

14          Q.     Did you ever see an evidence receipt from the

15     FBI for this data that Mike Hasson allegedly provided

16     to them?

17          A.     No.

18          Q.     Did you ever ask for one?

19          A.     No.

20          Q.     But you're working with them as a

21     confidential informant; right?

22          A.     Yes.

23          Q.     These same people that you say got the data;

24     right?

25          A.     Yes.
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 1          Q.     Did they ever tell you that they received the

 2     data?

 3          A.     Yes.

 4          Q.     Did they tell you how much data it was?

 5          A.     No.

 6          Q.     Did they tell you whether they could figure

 7     out whether it came from a Konnech computer or not?

 8          A.     They don't -- they're, like, we don't believe

 9     that it came from a Konnech computer.              We believe it

10     came from a server in China.

11          Q.     Sir, you have no authority whatsoever to

12     access the Konnech computer, do you?

13          A.     No, sir.

14          Q.     No one from Konnech has ever given you that

15     permission, have they?

16          A.     No, sir.

17          Q.     Did you see -- well, step back.            Withdraw

18     that.

19                       Did Mr. Hasson tell you how he accessed

20     that data?

21          A.     No, sir.

22          Q.     Did anybody ever tell you that they used the

23     default password to access this data?

24          A.     There has been -- there is a lot --

25                       THE COURT:   I'm sorry.      I'm sorry.
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 1                       Restate the question.

 2     BY MR. PAMPHILIS:

 3           Q.    Sure.     Has anyone told you that they used a

 4     default password to access this Konnech data that you

 5     were shown in that hotel room in January of 2021?

 6           A.    I don't have direct -- I don't have a

 7     recollection.

 8           Q.    You don't know?

 9           A.    I just don't recall.

10           Q.    We've seen -- well, let me step back.

11                       Have you seen the letters that your

12     lawyer, Brock Akers, was sending to us about your

13     compliance with the TRO?

14           A.    I don't know that I've seen any of them

15     actually.

16           Q.    Did you see any reference to Konnech's

17     computers being accessed using a default password?

18           A.    I don't recall.       No, I don't think I've seen

19     it.

20           Q.    You're certainly not in a position to swear

21     that that happened, are you?

22           A.    No.

23           Q.    Have you attempted to access any Konnech

24     protected computer since September 12 of 2022?

25           A.    No, sir.
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 1           Q.    Do you know anyone who has attempted to do

 2     so?

 3           A.    Konnech computer?        Is that what you're

 4     asking?

 5           Q.    Yes.    I will ask the question more fully.

 6                     Do you know of anybody who has attempted

 7     to access a Konnech computer since September 12 of

 8     2022?

 9           A.    I don't know.

10           Q.    When did you first communicate with anybody

11     employed by L.A. County about Konnech?

12           A.    They contacted us in July or so of this year.

13           Q.    2022?    And they were who -- who was it that

14     contacted you?

15           A.    Eric Neff.     N-E-F-F.

16                     THE COURT:     What was that last name again?

17                     THE WITNESS:      Neff.    N-E-F-F.

18                     THE COURT:     Okay.

19     BY MR. PAMPHILIS:

20           Q.    You had an event called The Pit in August of

21     2022 where Konnech was the subject of much discussion;

22     right?

23           A.    Yes.

24           Q.    Did anyone from L.A. County attend that

25     event?
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 1          A.     Yes.

 2          Q.     Who?

 3          A.     I forget his name.        One of the investigators.

 4     I'm sorry, I forget his name.

 5          Q.     Do you remember his first or last name?

 6          A.     Andrew is what I remember.

 7          Q.     Is he someone you have spoken with since?

 8          A.     Yes.

 9          Q.     How many times?

10          A.     I don't know.      I don't recall.

11          Q.     After you had the hotel meeting in January of

12     2021, you said you drove down to Houston to meet with

13     Ms. Engelbrecht; correct?

14          A.     Yes.

15          Q.     Did you drive down the next morning?

16          A.     I drove down, yes.

17          Q.     And how long did you meet with her?

18          A.     I don't recall.       Several hours I would guess.

19          Q.     Was there anybody else present?

20          A.     No.

21          Q.     Did you talk about what you saw in that hotel

22     room?

23          A.     Yes.

24          Q.     Do you know whether Ms. Engelbrecht took any

25     notes of that conversation?
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 1          A.     No.

 2          Q.     Did you?

 3          A.     No.

 4          Q.     Did you tell her any of the names or

 5     information that you saw in that hotel room?

 6          A.     No.

 7          Q.     Did you tell her the name of the people that

 8     were in the room?

 9          A.     No.

10          Q.     You didn't tell her who was there?

11          A.     No.

12          Q.     When you were in that hotel room, did

13     Mr. Hasson print anything out from -- from what you

14     were seeing there?

15          A.     No.

16          Q.     Did he copy anything while in your presence

17     that night?

18          A.     No, sir?

19                       THE WITNESS:     Judge, may I have a bottle

20     of water or something?

21                       THE COURT:     Absolutely.

22                       MR. PAMPHILIS:     Your Honor, I would like

23     to approach the witness stand to show him a photo of

24     who we believe Mike Hasson is and ask him if he

25     recognizes the witness.
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 1                       I'll mark this as Plaintiff's Exhibit 1.

 2     BY MR. PAMPHILIS:

 3          Q.     Sir, I have handed you a photo marked as

 4     Plaintiff's Exhibit 1 that has a photo on the front

 5     and the back of an individual named Mike Hasson, both

 6     with and without a beard, from approximately 2014,

 7     when you say you first met him.            Do you recognize him?

 8          A.     Not -- not really.        I don't know.       I couldn't

 9     affirmatively say that it's him.

10          Q.     Can you say whether it's not him?

11          A.     No.

12                       MR. PAMPHILIS:     I'd ask to admit Exhibit 1

13     into evidence.

14                       MR. WYNNE:   Your Honor, I'd object on the

15     ground that this -- to the extent this is not the

16     person we're talking about, it's in the public record.

17     Whoever this is should not --

18                       THE COURT:   What do you mean, it's not a

19     public record?        His picture is not a public record?

20                       MR. WYNNE:   If this item of this

21     individual is introduced into evidence in this

22     hearing, and it will become a public record.                I'm

23     trying to protect whoever this innocent person is, if,

24     in fact, it's not the correct Mike Hasson.                We don't

25     want his name on every media outlet tonight.
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 1                     THE COURT:     We don't know that it's not.

 2                     MR. WYNNE:     Don't know if it is or if it's

 3     not.

 4                     THE COURT:     Well, the witness is saying he

 5     doesn't know if it is or not.

 6                     MR. WYNNE:     Right.     So it's a possibility,

 7     to the extent it's not, then admitting it into the

 8     public record harms this person, if it is, in fact,

 9     not --

10                     THE COURT:     There are ways of handling

11     that.

12                     MR. WYNNE:     I expect to.       I just wanted to

13     bring it to the Court's attention.             I'd ask --

14                     THE COURT:     Excuse me.      There are ways to

15     handle what your concern is, other than objecting to

16     the document, though, aren't there?

17                     MR. WYNNE:     I'm going to ask it be

18     admitted under seal.

19                     THE COURT:     All right.      Let's proceed.

20     I'll deal with that.

21     BY MR. PAMPHILIS:

22            Q.   Was Mike Hasson at The Pit in August of 2022?

23            A.   No, sir.

24            Q.   Are you familiar with the Becket Law Firm?

25            A.   No, sir.
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 1          Q.     Do you know a Kevin "Seamus" Hasson?

 2          A.     No, sir.

 3          Q.     Do you know a Mary Rice Hasson?

 4          A.     No.

 5          Q.     Do you know Mike Hasson's phone number?

 6          A.     No, sir.

 7          Q.     Do you know his full name?

 8          A.     No.   Just Mike Hasson.

 9          Q.     Do you know his e-mail address?

10          A.     No, sir.

11          Q.     Do you know where he works?

12          A.     I don't think he has a regular job.             I think

13     he's an independent contractor.

14          Q.     Do you know who he's an independent

15     contractor to?

16          A.     Himself.

17          Q.     Who does he contract with?

18          A.     I don't know.

19          Q.     Do you know where he lives?

20          A.     I believe he lives in Texas.

21          Q.     Do you know where in Texas?

22          A.     No, sir.

23          Q.     Do you know if he currently lives in Texas?

24          A.     No, sir, I don't.

25          Q.     Do you know whether he has any special
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 1     training or experience with computers?

 2          A.     I would assume he does, but I don't know that

 3     definitively.

 4          Q.     You don't know if he's the one who actually

 5     got that this data he was showing you, do you?

 6          A.     No, sir.

 7                     MR. PAMPHILIS:       Your Honor, that's all the

 8     questions I have for right now.

 9                     THE COURT:     I have a couple of questions

10     that I need to ask before we turn it back over to

11     counsel.

12                     Did you testify that the FBI had this data

13     at the time that you were in the Dallas hotel?

14     Already had it?

15                     THE WITNESS:      No, sir.

16                     THE COURT:     They had been investigating

17     and they had data.        Okay.    They did not have the data?

18                     THE WITNESS:      Not as far as I know.

19                     THE COURT:     I'm sorry?

20                     THE WITNESS:      Not as far as I know.

21                     THE COURT:     So are you saying that the

22     data -- you don't know who turned it over; I guess,

23     Hasson, that he turned it over to the FBI was data

24     that they already had or not?

25                     THE WITNESS:      I wouldn't know the answer
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 1     to that.

 2                     THE COURT:     You don't know?

 3                     THE WITNESS:      No, sir.

 4                     THE COURT:     There were two confidential

 5     informants in the room; you and another person that

 6     you have not identified; right?

 7                     THE WITNESS:      Three.

 8                     THE COURT:     There were three.        Who were

 9     those -- other than yourself?            Or three with yourself?

10                     THE WITNESS:      With myself.

11                     THE COURT:     So Mike Hasson is a

12     confidential informant.          Didn't you testify to that?

13                     THE WITNESS:      I think that was noted

14     previously.

15                     THE COURT:     I'm not asking you what you

16     read in the newspaper or heard on the radio or saw on

17     TV.

18                     I am asking you -- this is one of your

19     guys that you described in your paperwork.                I want to

20     know, is he a confidential informant with the FBI?

21                     THE WITNESS:      As far as I know.

22                     THE COURT:     I'm sorry?

23                     THE WITNESS:      As far as I know.

24                     THE COURT:     All right.      So there were

25     three people in the room is what you're saying?
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 1                     THE WITNESS:      Yes, sir.

 2                     THE COURT:     All three are FBI informants?

 3                     THE WITNESS:      Yes, sir.

 4                     THE COURT:     And the FBI, as far as you

 5     know, at that time, had not been provided this data

 6     that you saw and believed or said later on in some

 7     podcast was serious data?

 8                     THE WITNESS:      Yes, sir.

 9                     THE COURT:     So is the FBI investigating

10     this or not?

11                     THE WITNESS:      Yes, sir.      They did for the

12     period of time that we worked with them.

13                     THE COURT:     Was any of the FBI agents,

14     field people, intelligence or whatever, was one of

15     them in the room?

16                     THE WITNESS:      No, sir.     That's not how we

17     would approach them.

18                     THE COURT:     No.    I didn't ask you about

19     how you approached them.

20                     THE WITNESS:      No, they weren't in the

21     room.

22                     THE COURT:     So the other informants,

23     neither Hasson or the other informant in the room,

24     none of those were intelligence officers working for

25     the FBI?
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 1                     THE WITNESS:      No, sir.

 2                     THE COURT:     All of you-all are contract

 3     people working on piecework, I guess, for the FBI?

 4                     THE WITNESS:      No, sir.     We don't have

 5     contracts.

 6                     THE COURT:     But you are engaged by the

 7     FBI?

 8                     THE WITNESS:      Not for money.

 9                     THE COURT:     You find things and you turn

10     it over to the FBI?

11                     THE WITNESS:      Yes, sir.      They call it

12     surfacing the data.

13                     THE COURT:     When you say you're a

14     confidential informant, that is a formal relationship

15     with the FBI.       Do you understand that?

16                     THE WITNESS:      Yes, sir.

17                     THE COURT:     And that means you sign

18     documents with the FBI.

19                     THE WITNESS:      No.

20                     THE COURT:     So you have no formal

21     relationship with the FBI?

22                     THE WITNESS:      We actually --

23                     THE COURT:     No, I'm talking about you.

24                     Do you have a formal document that you've

25     signed where you are engaged as an FBI informant?
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 1                     THE WITNESS:      We were --

 2                     THE COURT:     I'm asking you about yourself.

 3                     THE WITNESS:      Yes.    I was engaged as an

 4     FBI informant at the time.

 5                     THE COURT:     And that means that the FBI

 6     would have a document, that you would have signed the

 7     document that would permit you to act in that

 8     capacity --

 9                     THE WITNESS:      No, sir.     That's not

10     correct.

11                     THE COURT:     That's the way it generally

12     is, isn't it?

13                     THE WITNESS:      I don't know.

14                     THE COURT:     But you never signed any

15     documents?

16                     THE WITNESS:      No, but when we --

17                     THE COURT:     I'm sorry.      You never signed

18     any documents?

19                     THE WITNESS:      No, not for the CI, no.

20                     THE COURT:     What did you sign a document

21     for?

22                     THE WITNESS:      When the reports are made,

23     occasionally they would ask you to sign something.

24                     THE COURT:     So you have made reports

25     involving this particular disclosure that you received
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 1     in Dallas?

 2                     THE WITNESS:      Yes, sir.

 3                     THE COURT:     And they're written reports by

 4     you to the FBI regarding this particular event?

 5                     THE WITNESS:      Yes, sir.

 6                     THE COURT:     And you did that when?

 7                     THE WITNESS:      I think it was about a month

 8     or so after the meeting in Dallas.

 9                     THE COURT:     Did anyone else sign off on

10     your report?

11                     THE WITNESS:      The FBI completed the

12     report.     It's not my job.

13                     THE COURT:     It is your job to sign off on

14     the reports?

15                     THE WITNESS:      No, sir.

16                     THE COURT:     Okay.     So you informed the

17     FBI, you were in their offices and you talked to them

18     about it, I gather?

19                     THE WITNESS:      No, they met us in Dallas.

20                     THE COURT:     And you talked to them about

21     it?

22                     THE WITNESS:      Yes, sir.

23                     THE COURT:     How did you know they made a

24     report?

25                     THE WITNESS:      Because they filled out the
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 1     report.

 2                     THE COURT:     As you were sitting there?

 3                     THE WITNESS:        Yes.

 4                     THE COURT:     And they signed -- you saw

 5     them fill out the report, sign a document, or do

 6     whatever is necessary, and that is what you are

 7     calling a report to the FBI?

 8                     THE WITNESS:        Yes, sir.

 9                     THE COURT:     All right.

10                     MR. KIYONAGA:        Excuse, me Your Honor.        I

11     need to use the bathroom.

12                     THE COURT:     You can be excused.

13                     MR. KIYONAGA:        Could we just hold --

14                     THE COUR:     No.     I'm not holding anything.

15     I'm continuing.

16                     MR. KIYONAGA:        Tie the knot, sir --

17                     THE COURT:     Well, that's what my mother

18     told me to do when I got an emergency.

19                     The FBI has a report of this information;

20     is that what you're telling me?

21                     THE WITNESS:        Yes.

22                     THE COURT:     I have ways of getting those

23     things.

24                     THE WITNESS:        Yes, sir.

25                     THE COURT:     So I want to know what you're
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 1     telling me.      I want to know whether or not it's true.

 2     That's the whole point.

 3                     THE WITNESS:      Yes, sir, it is.

 4                     THE COURT:     And I want to know who these

 5     people are.      If you don't tell me, then you're going

 6     to be held in contempt.

 7                     THE WITNESS:      Who?    Which people, sir?

 8                     THE COURT:     The ones that you will not

 9     disclose.

10                     THE WITNESS:      I think there's just the one

11     person.

12                     THE COURT:     Well, that's one in the Dallas

13     office in the hotel; right?

14                     THE WITNESS:      Yes, sir.

15                     THE COURT:     And you said you met with or

16     talked with others in the FBI.            You talked general, in

17     a general way, so that you can simply play it loose.

18     I'm not interested in a general conversation with you.

19     I'm interested in evidence.

20                     Who in the FBI received this report, or

21     took this report and statement from you?

22                     THE WITNESS:      The two that were noted in

23     the earlier, in the --

24                     THE COURT:     I don't know who they are.           I

25     think you got to tell me.
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 1                     THE WITNESS:      Keven and Huy.

 2                     THE COURT:     Keven who?

 3                     THE WITNESS:      Can I -- can I get my notes?

 4                     THE COURT:     Sure.     Counsel, you'll give

 5     him his notes, so he can refer to his notes as to who

 6     they were or who they are.

 7                     He's going to bring them to you.

 8                     MR. WYNNE:     Handing the affidavit to which

 9     I referred earlier.        I don't know if that's sufficient

10     or if he needs --

11                     THE COURT:     I'm not asking you to make any

12     record, counsel.

13                     MR. WYNNE:     Thank you.

14                     THE COURT:     What you're doing is improper.

15     You know that, don't you?

16                     MR. WYNNE:     I'm just trying --

17                     THE COURT:     I'm sorry.      What you're doing

18     is improper.      If you have not, I want you to get the

19     local rules to this district, I want you to look at

20     all the attachments and appendixes, and you will

21     understand what the conduct of lawyers ought to be in

22     Federal Court.

23                     We're in Federal Court, not state court,

24     not county court, not the JP's office.              You're in

25     Federal Court in the Southern District of Texas, and
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 1     they are available to all; yourself, as well as other

 2     lawyers in this matter.

 3                     So what you're doing is improper.

 4                     MR. WYNNE:     Understood.

 5                     THE COURT:     Sir, my question is back to

 6     you now.

 7                     THE WITNESS:      Yes, sir.

 8                     THE COURT:     I'm waiting.

 9                     THE WITNESS:      I'm sorry.      Huy Bobby Nguyen

10     and Keven McKenna.

11                     THE COURT:     Spell that, please.

12                     THE WITNESS:      H-U-Y.     He goes by "Bobby."

13                     THE COURT:     H-U-Y.

14                     THE WITNESS:      Middle --

15                     THE COURT:     Excuse me.      H-U-Y is one of

16     the names?

17                     THE WITNESS:      Yes, sir.

18                     THE COURT:     What's the next part of his

19     name?

20                     THE WITNESS:      N-G-U-Y-E-N.

21                     THE COURT:     Huy Nguyen?

22                     THE WITNESS:      It's pronounced "we."

23                     THE COURT:     All right.      That is his full

24     name?

25                     THE WITNESS:      Yes, sir.
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 1                     THE COURT:     That's a person that you met

 2     with that took the report?

 3                     THE WITNESS:      Yes, sir.

 4                     THE COURT:     Who is the other person?

 5                     THE WITNESS:      Keven, K-E-V-E-N, McKenna,

 6     M-C-K-E-N-N-A.

 7                     THE COURT:     As I understand what you're

 8     telling the Court, these are two FBI agents.                These

 9     are people who work for the federal government?

10                     THE WITNESS:      Yes, sir.

11                     THE COURT:     All right.      And you met with

12     them and they took a report from you?

13                     THE WITNESS:      Yes, sir.

14                     THE COURT:     And this was when?

15                     THE WITNESS:      In -- sometime during

16     February of 2021.

17                     THE COURT:     2021?

18                     THE WITNESS:      Yes, sir.

19                     THE COURT:     All right.      All right.      And

20     I'm still waiting on the name of the other person; the

21     other contact person, the "informant" that was in the

22     room with you in Dallas.

23                     Do you have that in your notes?

24                     THE WITNESS:      I know the name.        But if --

25     I can't divulge the name of another confidential
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 92 of 225

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 1     informant.

 2                     THE COURT:     How do you know he's a

 3     confidential informant?

 4                     THE WITNESS:      Because of the meetings that

 5     I've been in with him.

 6                     THE COURT:     He told you?

 7                     THE WITNESS:      The meetings he was --

 8                     THE COURT:     No, no.     He told you he was an

 9     FBI informant?

10                     THE WITNESS:      No.    The bureau told me.

11                     THE COURT:     Who at the bureau told you?

12                     THE WITNESS:      Bobby.     Huy.

13                     THE COURT:     You didn't learn that until

14     after you were in the room with him?                You didn't know

15     at the time he was an FBI informant, did you?

16                     THE WITNESS:      Oh, yes.

17                     THE COURT:     Why would Huy need to tell you

18     that in February of 2021?

19                     THE WITNESS:      Because we had met

20     previously to that.

21                     THE COURT:     Who is "we"?

22                     THE WITNESS:      Me and Huy Nguyen and the

23     informant.

24                     THE COURT:     The three of you had met

25     previously?
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 1                     THE WITNESS:      Yes, sir.

 2                     THE COURT:     And this person is so -- his

 3     identity is so important that he not be revealed, but

 4     you'll tell me who the FBI agents are that you met

 5     with?

 6                     THE WITNESS:      Yes, sir.

 7                     THE COURT:     Your counsel said something to

 8     the effect that there are names that you would not

 9     want to disclose because it would be dangerous.                 And I

10     don't know if that is the right word he used, but was

11     talking about danger to you?

12                     THE WITNESS:      Yes, sir.

13                     THE COURT:     Okay.     Do you recall making a

14     statement on the podcast to the effect that you were

15     going to create a website and would load the -- this

16     data that you saw onto the website for the people who

17     would want to visit that site?

18                     THE WITNESS:      No, sir.     That's not true.

19                     THE COURT:     I'm asking you.        This is what

20     you said -- or what your podcast said.

21                     THE WITNESS:      My podcast was referring to

22     something we called the ripcord.             The ripcord was

23     related to an app called Open.INK, I-N-K.               We were

24     going to put the -- we do all sorts of other research.

25     We do a lot of open-source research, meaning Googling
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 1     around and trying to find things.             But we also do

 2     geospatial research.

 3                     THE COURT:     Were you planning to put the

 4     names of the individuals who worked for the Harris

 5     County polling, Bexar County polling, all of that data

 6     that you said that you saw, were you planning to post

 7     that data on a public venue?

 8                     THE WITNESS:      No, sir.

 9                     THE COURT:     Does this sound familiar to

10     you:    Gregg and Catherine, GC -- that's you, Gregg and

11     Catherine -- stumbled onto voting software used to

12     corroborate elections.         Was left with default

13     password.

14                     What is a default password?

15                     THE WITNESS:      A password that the software

16     would be shipped with.

17                     THE COURT:     Is what?

18                     THE WITNESS:      When they ship it to be

19     installed.

20                     THE COURT:     That means that someone has

21     intercepted a password?

22                     THE WITNESS:      No, sir.     It ships with the

23     password.     I think that is what it's referring to.

24                     THE COURT:     No.    I'm asking you what

25     you're referring to.
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 1                     It says here:      You were left with -- you

 2     used to coordinate the elections, was left with

 3     default password of database.

 4                     What are you talking about?

 5                     THE WITNESS:      Like I said, a password that

 6     would be shipped with the software.

 7                     THE COURT:     And so the software you're

 8     referring to is what?

 9                     THE WITNESS:      I don't recall.       I mean,

10     do --

11                     THE COURT:     We're talking about this

12     software.     We're talking about this data.

13                     THE WITNESS:      Well, I don't know that we

14     are or aren't.       We could be talking about the

15     Open.INK.

16                     THE COURT:     But you're the one talking

17     about it.

18                     THE WITNESS:      Right.     But I don't know if

19     that's what I was referring to.

20                     THE COURT:     Well, you said you stumbled

21     onto voting software used to coordinate elections.

22                     That is what Konnech does, isn't it?

23                     THE WITNESS:      I think it's one of the

24     things they do.

25                     THE COURT:     Well, do they do it or not?
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 1                     THE WITNESS:      I don't know.

 2                     THE COURT:     Why would you then say that

 3     you stumbled onto it if you don't know what they're

 4     doing?

 5                     THE WITNESS:      I'm sorry, I don't

 6     understand the question.

 7                     THE COURT:     All right.      Let me finish

 8     reading this.

 9                     GC researched team.         That sounds like that

10     is several people; right?

11                     THE WITNESS:      Uh-huh.

12                     THE COURT:     Discovered sensitive

13     information on election workers, et cetera, on server,

14     such as bank accounts, et cetera, et cetera?

15                     THE WITNESS:      Uh-huh.

16                     THE COURT:     You did that, didn't you?

17                     THE WITNESS:      I didn't access anything.

18     No, sir.

19                     THE COURT:     Well, you said you discovered

20     it, though?

21                     THE WITNESS:      Right.

22                     THE COURT:     What does that mean,

23     "discover"?

24                     THE WITNESS:      If it's referring --

25                     THE COURT:     No.    What does that mean, when
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 97 of 225

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 1     you say you discovered this sensitive information?

 2                     THE WITNESS:      It was shown to me.

 3                     THE COURT:     And you saw that there were

 4     bank accounts?

 5                     THE WITNESS:      There were bank accounts.

 6                     THE COURT:     You saw the names of the

 7     individuals?

 8                     THE WITNESS:      Yes, sir.

 9                     THE COURT:     You saw their Social Security

10     numbers?

11                     THE WITNESS:      Yes, sir.

12                     THE COURT:     And you then said:         We're

13     going to post this on a public domain?

14                     THE WITNESS:      No, sir.     There is two

15     different datasets.

16                     THE COURT:     Well, I'm not -- I don't care

17     about the datasets.        You know what I am describing.

18                     THE WITNESS:      It's unrelated.       One -- what

19     we were going to publish publicly was the stuff from a

20     movie that we had been involved with, 2000 Mules, a

21     bunch of geolocation data; data that comes from your

22     cellphone.

23                     THE COURT:     You know that if you were to

24     post the names of persons who worked at the polling

25     places --
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 1                     THE WITNESS:      I never --

 2                     THE COURT:     I'm sorry.      I have not

 3     finished.

 4                     You know that if you were to post the

 5     names and addresses and Social Security numbers of

 6     individuals who worked for Harris County, worked for

 7     Bexar County, worked for all of the counties around

 8     the United States that Konnech is working with, that

 9     they would certainly come under scrutiny by persons

10     who might want to interfere with them.

11                     Don't you know that?

12                     THE WITNESS:      Yes, sir.

13                     THE COURT:     And that is happening right

14     now, isn't it?

15                     THE WITNESS:      It's never been published.

16                     THE COURT:     I didn't say it was being done

17     in this instance.        But that kind of conduct is ongoing

18     right now.

19                     THE WITNESS:      Yes.    We are under extreme

20     pressure on that side, too.

21                     THE COURT:     I don't know who "we" is.           You

22     keep saying "we."

23                     THE WITNESS:      Everyone that I work with

24     has been threatened.         We've been called.        We've had

25     all sort of things happen.           And I absolutely
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 1     understand what is like to have yourself doxed.

 2                     THE COURT:     What does that mean?

 3                     THE WITNESS:      It means when somebody

 4     publishes your personal information online, so that

 5     others can come attack you.

 6                     THE COURT:     So your information has been

 7     published -- personal information, confidential data

 8     has been published on a public website or public

 9     dataset?

10                     THE WITNESS:      Yes.

11                     THE COURT:     So you're receiving

12     threatening calls and all kinds of -- all kinds of

13     threats of that sort.         Is that what you're telling the

14     Court?

15                     THE WITNESS:      Yes, sir.

16                     THE COURT:     You so you know that if you

17     were to release this data that Konnech is saying do

18     not release, or any of your buddies, or team were to

19     do that, any of your guys were to do that, that would

20     subject these people to a serious harassment that

21     might result in some kind of physical altercation as

22     you've seen in the media?

23                     THE WITNESS:      Yes, sir.

24                     THE COURT:     Okay.     There is something more

25     at stake here than what might be happening to Konnech,
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 100 of 225

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 1     when personal data of that sort is released?

 2                     THE WITNESS:       Yes, sir.

 3                     THE COURT:      So this stuff about this is an

 4     issue of threats to America integrity and all of that

 5     stuff, these are individual people like you --

 6                     THE WITNESS:       Yes, sir.

 7                     THE COURT:      -- who don't want their Social

 8     Security number or their names and their personal data

 9     stolen and used to go out and create debt that is not

10     your debt?

11                     THE WITNESS:       Right.     That is why we never

12     kept a copy.

13                     THE COURT:      But you just said also that

14     the D.A. in California has this data?

15                     THE WITNESS:       Yes.     Related to their case.

16                     THE COURT:      All right.      And when did they

17     get the data?

18                     THE WITNESS:       I understand they received

19     it post his arrest.

20                     THE COURT:      All right.      So they took his

21     computers or something; right?              They seized his

22     equipment?

23                     THE WITNESS:       Yes.

24                     THE COURT:      And they've accessed his

25     computers is what you're suggesting?
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 1                     THE WITNESS:       I understand that is true.

 2                     THE COURT:      How would you disclose this

 3     information to me or to the plaintiff's counsel, if

 4     you were to do it confidentially?

 5                     THE WITNESS:       Which information, sir?

 6                     THE COURT:      The names of all the persons

 7     involved that you have not disclosed to this point.

 8                     THE WITNESS:       There is only one.

 9                     THE COURT:      All right.      Well, then that is

10     what I'm talking about.          How would you do that?

11                     THE WITNESS:       I really think the FBI needs

12     to do it.

13                     THE COURT:      No.   You're not the FBI.         I'm

14     asking you.

15                     THE WITNESS:       I don't have the authority

16     to do it.

17                     THE COURT:      You're not authorized to,

18     quote, tell this Court who it is that you are working

19     with that saw this data that you relate to Konnech?

20                     THE WITNESS:       No, sir, I'm not.

21                     THE COURT:      And you're not authorized

22     because?

23                     THE WITNESS:       Because he and I were

24     confidential informants at the same time during that

25     event.
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 1                     THE COURT:      Nobody would have known that

 2     you were a confidential informant had you not told us.

 3                     THE WITNESS:       I'm not a confidential

 4     informant anymore.         So I'm more free to do that.

 5                     THE COURT:      When did you stop being a

 6     confidential informant?

 7                     THE WITNESS:       A few months ago.

 8                     THE COURT:      I'm sorry?

 9                     THE WITNESS:       A few months ago.

10                     THE COURT:      These other people -- what

11     about Hasson, is he still a confidential informant?

12                     THE WITNESS:       As far as I know, yes, sir.

13                     THE COURT:      Is the other gentleman still a

14     confidential informant?

15                     THE WITNESS:       Yes, sir.

16                     THE COURT:      How do you know?

17                     THE WITNESS:       Because I've been in

18     meetings with him and the FBI.

19                     THE COURT:      So you're meeting with

20     confidential informants, exchanging information.

21     They're confidential but you're not?

22                     THE WITNESS:       Yes, sir.     I haven't

23     exchanged anything with them since I stop being a

24     confidential informant.

25                     THE COURT:      I'm trying to figure out
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 103 of 225

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 1     whether or not I should be talking to the FBI or not.

 2                     THE WITNESS:       Yes, sir.

 3                     THE COURT:      And I'll figure that out.          But

 4     I want to know how I can get this name from you

 5     confidentially?

 6                     THE WITNESS:       I can't give you the name.

 7                     THE COURT:      So you can't?

 8                     THE WITNESS:       I can't.

 9                     THE COURT:      It's not that you can't; it's

10     that you won't?

11                     THE WITNESS:       I can't.

12                     THE COURT:      What would prevent you from

13     doing that?

14                     THE WITNESS:       Well, first of all, it would

15     put his life in danger.          Beyond that, because I know

16     that he's a CI, you can't just unmask a person that is

17     a CI.     This person -- this particular person, Judge,

18     is -- he would be in such extraordinary danger that --

19                     THE COURT:      From?

20                     THE WITNESS:       From --

21                     THE COURT:      China?

22                     THE WITNESS:       From the cartels.        He works

23     on the border.       He does all kinds of work.

24                     THE COURT:      The cartels on the border, as

25     I understand, are drug dealers.
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 1                     THE WITNESS:       Right.

 2                     THE COURT:      So a confidential informant

 3     involved in this process has nothing to do with drugs.

 4                     THE WITNESS:       It's the same thing.        It's

 5     the same CI.       You don't distinguish --

 6                     THE COURT:      I been doing this over 34

 7     years.     I know every confidential informant with the

 8     FBI is not in drug trafficking.

 9                     THE WITNESS:       I didn't say he was

10     trafficking, sir.        I said he's helping assist against

11     human trafficking and against drug trafficking,

12     against all of the things that are going on in the

13     border.     But that's not all he does.

14                     THE COURT:      Nobody in this room would know

15     that except you are disclosing it now, aren't you?

16                     THE WITNESS:       I didn't disclose his name.

17                     THE COURT:      You're just telling us what

18     he's doing?

19                     THE WITNESS:       Sure.

20                     THE COURT:      And nobody in this room had to

21     know that, did they?

22                     THE WITNESS:       It's not disclosing anything

23     private.     There is no private information.

24                     THE COURT:      Well, I said no one in this

25     room would know the role that he plays as a
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 105 of 225

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 1     confidential informant --

 2                     THE WITNESS:       Sir --

 3                     THE COURT:      -- except you disclosed it

 4     right now, didn't you?

 5                     THE WITNESS:       This person is --

 6                     THE COURT:      Did you just disclose --

 7                     THE WITNESS:       I didn't disclose his name

 8     nor any identifying information.

 9                     THE COURT:      Did you just disclose what he

10     does as a confidential informant?

11                     THE WITNESS:       One of the things, yes.

12                     THE COURT:      Okay.

13                     That's all I have.

14                     Go ahead, counsel.

15                     MR. WYNNE:      No further questions.

16                     THE COURT:      You may step down, sir.

17                     THE WITNESS:       Your Honor, do I take these

18     or give these back?         Things that have been --

19                     THE COURT:      I don't know.

20                     MR. PAMPHILIS:       There is an exhibit that

21     we ask to be admitted, the photo of Mike Hasson.

22     That's the only one that I put up.

23                     THE COURT:      Hand them to the lawyers, not

24     to me.

25                     MR. PAMPHILIS:       May I have Plaintiff's
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 106 of 225

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 1     Exhibit 1 from Mr. Hasson's testimony admitted?

 2                     THE COURT:      It's admitted.

 3                     THE WITNESS:       Can I go to the restroom?

 4                     THE COURT:      You may step down.

 5                     Who is your next witness?

 6                     MR. WYNNE:      May I have a moment to confer

 7     with co-counsel, as well as the next potential

 8     witness?

 9                     THE COURT:      Yes.     You're going to do it

10     here in the courtroom.

11                     MR. WYNNE:      Yes, Your Honor.

12                     Defendants call Catherine Engelbrecht.

13                     THE COURT:      Please come forward.         I'll

14     swear you in.

15                     MR. PAMPHILIS:         Is it okay if

16     Mr. Richardson handles this witness?

17                     THE COURT:      That's fine.

18                            CATHERINE ENGELBRECHT

19     The witness, after being sworn, testified as follows:

20                             DIRECT EXAMINATION

21     BY MR. WYNNE:

22           Q.    Ms. Engelbrecht, I'm going to ask you

23     similarly, very briefly, to introduce yourself to the

24     Court.

25           A.    My name is Catherine Engelbrecht.             I started
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 107 of 225

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 1     True The Vote in 2010.          I graduated from the

 2     University of Houston.          I am 52.

 3                     MR. WYNNE:      May I approach the witness?

 4                     THE COURT:      You may.

 5     BY MR. WYNNE:

 6           Q.    I've handed you a document that has been

 7     filed in this case, and I direct you to the bottom

 8     Roman -- little Roman numeral 5.

 9                     Are you familiar with that request that

10     was made in connection with this case?

11           A.    Yes.

12           Q.    Will you please read it?

13           A.    Order to -- excuse me.

14                     "Ordered to identify each individual

15     and/or organizations involved in accessing Konnech's

16     protected computers."

17           Q.    Understanding that there is some question of

18     whether Konnech itself owned the computer server --

19                     THE COURT:      I'm sorry, counsel.         That's

20     not a question.

21     BY MR. WYNNE:

22           Q.    Please answer the question.

23           A.    To the best of my knowledge, Mike Hasson and

24     the Federal Bureau of Investigations had access to --

25     well, I'm sorry -- may I restate?
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 1                     Mike Hasson had access.          The FBI

 2     ultimately received that data.            I misspoke.

 3           Q.    Would you read Roman numeral -- small Roman

 4     numeral 6.

 5           A.    "Ordered to confidentially disclose to

 6     Konnech how, when and by whom Konnech's protected

 7     computers were accessed."

 8           Q.    Can you please answer that question?

 9           A.    To the best of my knowledge, Mike Hasson

10     found vulnerability that was shown to Gregg Phillips.

11     And the information was turned over to the Federal

12     Bureau of Investigations.

13           Q.    And small Roman numeral 7.           Would you please

14     read that?

15           A.    "Ordered to identify all persons and/or

16     entities in defendants' knowledge who have had

17     possession, custody or control of any information or

18     data from Konnech's protected computers."

19           Q.    Please answer that question.

20           A.    To the best of my knowledge, Mike Hasson and,

21     again, it was given to the Federal Bureau of

22     Investigations.

23                     MR. WYNNE:      No further questions, Your

24     Honor.

25                     THE COURT:      All right.      Who is handling
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 1     this witness?

 2                     MR. RICHARDSON:       Nathan Richardson, Your

 3     Honor.

 4                     THE COURT:      All right.

 5                              CROSS-EXAMINATION

 6     BY MR. RICHARDSON:

 7           Q.    Good afternoon, Ms. Engelbrecht.

 8           A.    Good afternoon.

 9           Q.    Have you ever met Mike Hasson?

10           A.    Yes, I have.       One time.

11           Q.    When did you meet him?

12           A.    I don't recall.

13           Q.    Do you recall where you met him?

14           A.    I don't recall.        I believe it was in Texas,

15     but I don't recall exactly where.

16           Q.    Do you recall if it was at an event, a

17     political event?        Anything of that nature?

18           A.    No, I don't recall.         I'm sorry.

19           Q.    Did you go to dinner with him and have

20     drinks?

21           A.    That I didn't do.

22           Q.    Do you recall around what year it was when

23     you first met him?

24           A.    2021.

25           Q.    You met him in 2021?
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 1           A.    Yes.

 2           Q.    Was it before or after this night in the

 3     motel that Mr. Phillips has been talking about?

 4           A.    I don't recall.

 5           Q.    You would agree that that night that

 6     Mr. Phillips spent in the hotel with Mr. Hasson is a

 7     pretty significant event for you and True The Vote, as

 8     far as the way you guys are advertising it?                 Would you

 9     agree with that?

10           A.    I would -- I would reframe it.            I mean, it's

11     significant for America.           I don't --

12                     MR. RICHARDSON:       Objection.

13     Nonresponsive.

14                     I will rephrase the question.            Perhaps you

15     can answer.

16     BY MR. RICHARDSON:

17           Q.    The whole basis, the foundation of The Pit

18     event that True The Vote put on was what Mr. Phillips

19     claimed to have seen in that hotel room?

20           A.    That's not true.

21           Q.    That's not true?

22           A.    No, sir.

23           Q.    Is what Mr. Phillips saw in that hotel room

24     entirely irrelevant to what you disclosed to people at

25     The Pit?
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 1           A.    No, I wouldn't think so.

 2           Q.    The point I'm getting at here is:             Obviously,

 3     that night in the hotel room, whatever Mr. Phillips

 4     saw, True The Vote has latched on that and has used

 5     that to promote themselves.           Is that right?

 6           A.    No.    We've not done it to promote ourselves.

 7           Q.    Have you used it to try to get any more

 8     donations to your company?

 9           A.    No.

10           Q.    You haven't asked for any donations in

11     connection with what you're calling the Tiger Project?

12           A.    Not to the best of my knowledge.             I don't

13     recall.

14           Q.    But you're telling me you can't recall

15     whether or not you met Mr. Hasson, Mike Hasson, before

16     or after that January 2021 --

17           A.    I do not recall.        No, sir.

18           Q.    When was the last time you spoke with

19     Mr. Hasson?

20           A.    I don't recall.        I don't recall.

21           Q.    You have spoken to Mr. Hasson?

22           A.    Yes, I have spoken to Mr. Hasson.

23           Q.    How many times have you spoken to him?

24           A.    Maybe two or three times.

25           Q.    How have you communicated with him?
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 1           A.    Via -- well, on -- verbally.            And then a

 2     messaging app.

 3           Q.    Verbally, meaning in person, face to face?

 4           A.    The one meeting, yes.

 5           Q.    What did you talk about the first time you

 6     spoke with him?

 7           A.    Likely research.

 8           Q.    Research on what?

 9           A.    Variety of things.        We look at all manner of

10     election intelligence.          It could be anything.

11           Q.    Is Mike Hasson a contractor with True The

12     Vote?

13           A.    No.

14           Q.    Why is he giving you this information?

15           A.    He's a patriot.

16           Q.    What do you mean by "he's a patriot"?

17           A.    When he identified, in the instance of

18     Konnech, identified things that were problematic, he

19     wanted to make sure that they were given to the FBI

20     and due course taken.

21           Q.    What would you consider a person to be a

22     patriot?     What does that mean?

23           A.    When you -- by my definition, when you see

24     things that harm this country or our countrymen, if

25     there is a means by which you can report that
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 1     appropriately, lawfully, then to do so is a patriotic

 2     fact.

 3           Q.    So you have to report something to law

 4     enforcement to be a patriot for this country?

 5           A.    No, you're right in that observation.

 6     Certainly, in your daily conduct, in civic duty, love

 7     of country, all those things contribute, yes, sir.

 8           Q.    You have to have a certain political

 9     affiliation to be considered a patriot?

10           A.    Absolutely not, no.

11           Q.    Do you have to believe the election was

12     stolen from Trump to be considered a patriot?

13                     MR. WYNNE:      Objection.

14                     THE WITNESS:       No.

15     BY MR. RICHARDSON:

16           Q.    So whenever you spoke to him the first time,

17     you said the first time he was giving you research.

18     How about the second time --

19                     THE COURT REPORTER:         Excuse me, counsel.

20     I need you to speak louder, please.              And could you

21     please speak slower.

22     BY MR. RICHARDSON:

23           Q.    What about the second time you spoke with

24     Mr. Hasson, what was he -- what were you talking

25     about?
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 1           A.    I spoke to Mr. Hasson about this data

 2     specifically, because I was trying to understand what

 3     the FBI needed.        And I was being told that they wanted

 4     to make sure they had the right data, and that -- I

 5     was trying to understand if he had -- if he had

 6     provided a copy or -- I was trying to understand what

 7     was necessary to support what the FBI was, to my

 8     understanding, was investigating.

 9           Q.    You said he spoke to you about the data.

10     What did he tell you about the data?

11           A.    He told me that he had dropped it to -- as I

12     generally recall, he referred to a drop point, and he

13     said, I have a drop point that I dropped the data to.

14                       And that because this had happened -- it

15     must have happened later into 2021, because the -- the

16     question was, where was the data that they were

17     looking for, and Mike made the comment that he had

18     resurfaced it to make it easy.

19                       Again, I'm repeating what he said.           I

20     don't have any technical knowledge about how that

21     would be done.

22           Q.    You never saw this data, did you?

23           A.    No.

24           Q.    He never screen-shared any of this data that

25     he found with you, did he?
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 1           A.    No.

 2           Q.    Your only understanding of any data that Mike

 3     Hasson claim to have found is what he told you;

 4     correct?

 5           A.    Well, subsequent to that finding, I did my

 6     own review of using a open-source subscription for

 7     something called BinaryEdge, where you can look at

 8     certain URLs, and it will show you where they resolve

 9     to.

10           Q.    You understand that that BinaryEdge actually

11     only shows you certificates -- registration

12     certificates?

13           A.    That's not my understanding, no.

14           Q.    What is your understanding of that?

15           A.    My understanding is that you can, through a

16     variety of inputs, find termination points for

17     servers, including what type of server it's on, where

18     it's located, the ports that are open.

19           Q.    You never saw any data on any of those ports

20     or go through any those ports for any database.                  Is

21     that correct?

22           A.    I did see the URLs that are the front doors

23     to -- well, that's data.           I'm not sure if that's what

24     you're asking.

25           Q.    No.    We're talking about the data that is at
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 1     issue in this lawsuit, the poll worker data that you

 2     guys have claimed to have found.

 3                       Did you ever personally see any of that

 4     data?

 5           A.    No.

 6           Q.    You did nothing to verify that that data was

 7     ever on any of those servers that went through any of

 8     those ports that BinaryEdge was showing you.                 Is that

 9     correct?

10           A.    Verification from BinaryEdge was sufficient

11     to support what had been provided, to the best of our

12     understanding, to the FBI.

13           Q.    BinaryEdge doesn't show you the data.               Isn't

14     that correct?

15           A.    No.     But it shows approximate file sizes.

16           Q.    My question is simply:          BinaryEdge does not

17     show you the data; correct?

18           A.    No.     That would be exposure of PII.

19           Q.    That is what you're saying Mr. Mike Hasson

20     did, was exposed PII.          Is that correct?

21           A.    He identified the data.          Gave it to the FBI.

22           Q.    Again, you never saw that PII?            Is that

23     correct?

24           A.    No.

25           Q.    And so was there a third time that you spoke
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 1     to Mike Hasson?

 2            A.   No.    There would have been a follow-up

 3     communication in the messaging app, which I believe I

 4     actually have some screenshots that support some of

 5     that here today.

 6            Q.   What was that follow-up communication about?

 7            A.   Trying to ascertain whether or not he had

 8     surfaced the data, so that the agents in Detroit could

 9     find it.

10            Q.   Have you communicated with him since this

11     Court issued the TRO on September 12th?

12            A.   No.

13            Q.   You did not inform him that he was named at

14     the October 6 hearing?

15            A.   I've not spoken with him or communicated with

16     him.

17            Q.   Are you familiar with the Becket Law Firm?

18            A.   No.

19            Q.   Have you ever heard of Kevin "Seamus" Hasson?

20            A.   No.

21            Q.   Have you heard of Mary Rice Hasson?

22            A.   No.

23            Q.   Mike Hasson has never told you about anybody

24     in his family --

25            A.   No.
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 1           Q.    Do you know where Mike Hasson lives?

 2           A.    No.

 3           Q.    Do you have his phone number?

 4           A.    No.

 5           Q.    So you've never spoken with him over the

 6     phone?

 7           A.    Different messaging apps, you don't have to

 8     reveal a phone number.

 9           Q.    What kind of messaging apps are these?

10           A.    Variety.     Signal, Wickr.

11           Q.    What was that first one?

12           A.    Signal.

13           Q.    Signal.     What does that do?

14           A.    It's an encrypted text app.           That is how I

15     communicated with the FBI.

16           Q.    That's also how you communicate with Mike

17     Hasson?

18           A.    It might have been.         I really don't recall.

19           Q.    Is there a screen name on the app or

20     something to know who you're talking to?

21           A.    Sometimes there is screen names.             Sometimes

22     there is pseudonyms.

23           Q.    What is his screen name?

24           A.    I really couldn't tell you.

25           Q.    Could you look back at --
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 1           A.    I don't keep records of them.

 2           Q.    Well, just a second ago, you told me that you

 3     kept some records of some conversations with

 4     Mr. Hasson.        So are you saying those --

 5           A.    Well, I said --

 6                (All parties speaking simultaneously.)

 7                       THE COURT REPORTER:       Excuse me.

 8     BY MR. RICHARDSON:

 9           Q.    Please let me finish my question.

10                       THE COURT REPORTER:       And, counsel, could

11     you please speak slower.

12                       MR. RICHARDSON:     I will.

13     BY MR. RICHARDSON:

14           Q.    So you're telling me that you did not look at

15     back at those messages that you say that you have here

16     in this courtroom and tell us what his pseudonym is in

17     those apps?

18           A.    I didn't save his messages.           I saved specific

19     messages from the FBI.

20           Q.    So you have no saved messages from Mike

21     Hasson?

22           A.    No.

23           Q.    You said Signal.        What is the other messaging

24     app you used?

25           A.    Wickr is another.
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 1           Q.    Wickr?

 2           A.    Uh-huh.

 3           Q.    Can you tell is that, please.

 4           A.    W-I-C-K-R.

 5           Q.    Why do you use these encrypted apps instead

 6     of text messages?

 7           A.    They're just thought to be safer, more

 8     secure.

 9           Q.    Why do you believe they're more secure?

10           A.    Because they're encrypted end to end, so

11     they're less prone to hacking.

12           Q.    Do you believe that people are trying to look

13     at your messages?

14           A.    I believe it's possible.

15           Q.    Who do you think might be looking at your

16     text messages?

17           A.    I couldn't tell you.

18           Q.    You're telling me you did no text messages

19     with Mike Hasson?

20           A.    No.

21           Q.    You don't have his phone number?

22           A.    No.

23           Q.    You said you have met Mike Hasson in person;

24     correct?

25           A.    Uh-huh.
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 1           Q.    You know what he looks like?

 2           A.    I really couldn't tell you, no.             My general

 3     recollection is, he was younger than I, Caucasian.

 4     But beyond that, I really -- I couldn't tell you.

 5           Q.    Have you seen the picture of Mike Hasson that

 6     has been in this courtroom?

 7           A.    I have not.

 8                     MR. RICHARDSON:       Defense Exhibit 1.

 9     Excuse me.      Plaintiff's Exhibit 1.

10                     Do you mind if I approach, Your Honor?

11                     THE COURT:      Please.

12     BY MR. RICHARDSON:

13           Q.    There is a picture on the back as well.               Does

14     this person look familiar to you?

15           A.    Not -- not to the best of my -- I couldn't

16     tell you whether or not this was Mike Hasson.

17                     THE COURT:      That wasn't the question.

18                     THE WITNESS:       Does he look familiar?         No.

19     BY MR. RICHARDSON:

20           Q.    Have you attended any events for prosperity

21     of Texas?

22           A.    Prosperity of Texas?          I'm not familiar with

23     that organization.

24           Q.    Are you familiar with any organization that

25     has a similar name that I may be --
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 1           A.    There is an organization called Americans for

 2     Prosperity, yes.

 3           Q.    Have you attended any of those events?

 4           A.    I believe I attended those -- an event from

 5     American prosperity (sic) probably when I was -- first

 6     started the organization.           So like 2010.       2011 maybe.

 7           Q.    So you've never seen Mike Hasson give any

 8     speeches at any of those events?

 9           A.    No.

10           Q.    Are you familiar with any organization that

11     Mike Hasson is affiliated with?

12           A.    No.

13           Q.    Do you know if he works for anybody?

14           A.    No.

15           Q.    Do you know if he owns any of his own

16     companies?

17           A.    No.

18           Q.    Do you know what he does to make a living?

19           A.    No.

20           Q.    Do you have any basis to believe that Mike

21     Hasson had the capability to do these internet -- to

22     hack essentially?

23           A.    I have no basis to believe he hacked, no.

24           Q.    Do you have any basis to believe that he is

25     capable of computer hacking?
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 1           A.    Not to the best of my knowledge.

 2           Q.    Do you have any basis to believe that he has

 3     any technical experience that would give him the

 4     background to be able to do that?

 5           A.    To hack?

 6           Q.    To access any computer that is not public.

 7           A.    Not to the best of my knowledge.

 8           Q.    So you have no way to verify that what Mike

 9     Hasson showed -- excuse me, showed Mr. Phillips and

10     what Mr. Phillips told you, that it was actually what

11     they were saying it was?           Isn't that correct?

12           A.    Well, the way I would support that answer --

13     if I may?

14                     THE COURT:      You haven't given an answer.

15                     THE WITNESS:       Oh, I am so sorry.

16                     Repeat the question.         I want to answer it

17     directly first.

18     BY MR. RICHARDSON:

19           Q.    My question was:        Since you have no basis to

20     understand any technical background of Mr. Hasson, you

21     therefore have no basis to know that what Mr. Hasson

22     told Mr. Phillips and what Mr. Phillips told you was

23     actually true.       Isn't that correct?

24           A.    No, that is not correct.

25           Q.    Why is that not correct?
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 1           A.    Because for the following 16 months we worked

 2     with the FBI to support the furtherance of an

 3     investigation into Konnech.

 4           Q.    The FBI -- well, True The Vote has claimed

 5     that the FBI turned the tables on them and began

 6     looking at them for accessing a server in China.                  Is

 7     that correct?

 8           A.    No.

 9           Q.    And so your answer is no?

10                       So everything that you were telling the

11     people at The Pit and on these podcasts, that the FBI

12     hashtag turned the tables or flipped the script, that

13     that is not true?

14           A.    No.     Everything we said at The Pit was one

15     hundred percent true.          What we -- the clarification

16     point I would make is that we were told by FBI agents

17     that it was possible that these -- these efforts to

18     look at our work were being suggested by people in the

19     DC headquarters, and everybody was very concerned

20     about that clearly.         But I have no basis to believe

21     that it's actually happening.

22           Q.    I don't mean a formal investigation

23     necessarily.

24           A.    Uh-huh.

25           Q.    I'm not looking into you --
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 1           A.    Uh-huh.

 2           Q.    -- for what you claim you've done.

 3                       You told people at The Pit, you filmed

 4     podcasts and repeatedly said that the FBI made True

 5     The Vote, Mr. Phillips in particular, a target for

 6     what he claims allegedly stealing the Chinese

 7     internet.

 8                       Were you lying then or are you lying now?

 9           A.    I'm not lying.

10           Q.    So the FBI never was looking into True The

11     Vote, you or Gregg Phillips, for doing -- making an

12     unauthorized access into a Konnech server?

13           A.    I'm not sure how to answer that with a yes or

14     no.    We had an agent, Huy Nguyen, specifically, give

15     us information that people from the DC headquarters

16     had gotten involved in the investigation and wanted to

17     look further into True The Vote.

18                       And whether or not that actually occurred,

19     I don't know.        But it certainly gave us rise for

20     concern and those conversations continued.

21           Q.    But you're trying to paint the picture for

22     your followers that it actually had occurred.                 Isn't

23     that right?

24           A.    No.     I'm trying to paint the picture that

25     it's possible that it could and it's very serious.                    In
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 126 of 225

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 1     fact, we had -- if I may -- an FBI agent tell us to be

 2     prepared to take what he considered the nuclear option

 3     and to go public.

 4           Q.    Go public with what?

 5           A.    With the information about all that we had

 6     done with the FBI.         And that is why we held The Pit,

 7     and that is what we said at The Pit.

 8           Q.    So you're telling me, while you're on the

 9     stand, that you have -- that you did not try to paint

10     the picture that the FBI had flipped the tables and

11     were looking into you, as opposed to looking into

12     Konnech?

13           A.    I think your view of painting the picture and

14     my view are different.

15                     THE COURT:      That's a yes or no.

16                     THE WITNESS:       Can you repeat the question?

17     BY MR. RICHARDSON:

18           Q.    Is your testimony that you have never tried

19     to portray to your followers online, on social media,

20     or at The Pit, that the FBI was investigating you as

21     opposed to Konnech?

22           A.    No, I don't think I've ever intentionally

23     conveyed that.

24           Q.    You think you might have accidently conveyed

25     that?
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 1           A.     Well, I think I've conveyed, as I have

 2     shared, that we were told by FBI agents that the

 3     Washington, DC bureau was attempting to look into our

 4     actions, and the agents that we were working with were

 5     so alarmed that one in particular, Huy Nguyen,

 6     suggested that we be prepared to take the nuclear

 7     option and go public.

 8                     And that is what I communicated.             I

 9     hope -- I hope with all I have that it's not true.

10     But when an FBI agent tells you that it's happening

11     and suggests that you take the nuclear option, it

12     gives you something to think about.

13           Q.     When is the last time you spoke to the FBI?

14           A.     I sent -- I believe -- if I could have my

15     notes.      I have the screenshots.         I would love to share

16     them.      I would love to read my last correspondence, if

17     I may.      I'm not sure if I can do that.

18           Q.     I think we'll do ask -- question/answer.

19           A.     Okay.   I'm not exactly sure then.           It would

20     have been in October of this year.

21           Q.     You were not in that hotel room in January of

22     2021.      Is that right?

23           A.     No, sir.

24           Q.     Do you recall appearing on a podcast in

25     September of this year where you talked about the
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 1     Tiger Project and Konnech?

 2           A.    Not specifically, no.

 3           Q.    You don't?      Okay.

 4                       Do you recall appearing on Mr. Phillips'

 5     podcast called Patriot Games?

 6           A.    I have been on his podcast, yes.

 7           Q.    Have you been -- you were on his podcast in

 8     September of this year; correct?

 9           A.    It's possible, yes.

10           Q.    Do you recall saying on that podcast that you

11     said, "We pulled in Gregg's team and asked them to

12     take a deeper dive around doing some basic tests

13     around the very basic security of the software

14     itself"?

15           A.    Uh-huh.

16           Q.    You do recall --

17           A.    No.     I don't recall saying that, but that

18     does sound like something I would have said, yes.

19           Q.    Who is Gregg's team?

20           A.    He has a variety of people that we work

21     with -- that he works with.

22           Q.    Well, let's start with the team you were

23     referring to on that statement about the team you

24     wanted to take deeper dive in the security of the

25     software.
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 1           A.    I mean, I was referring to using BinaryEdge.

 2           Q.    His team is BinaryEdge?

 3           A.    I'm talking about people that are using

 4     BinaryEdge or looking at open-source stuff.                 Every

 5     name I give you gets doxed and harassed.                So I'm very

 6     cautious.

 7           Q.    Well, you're under Court order today to be

 8     giving us information.

 9                     Who is Gregg's team that you referred to

10     when you asked them to take a dive around the security

11     of software?       Who are the people on that team?

12                     MR. WYNNE:      I'm going to object to the

13     extent it requests information outside of her own

14     personal knowledge.

15                     THE COURT:      Overruled.

16     BY MR. RICHARDSON:

17           Q.    Can you answer the question?            Who is Gregg's

18     team that you were asked to take a dive around

19     security of software?

20                     Are you going to answer the question?

21           A.    I'm deeply contemplating this, because I know

22     what happened to Mike after his name was released.

23     He's in hiding.        So I'm very cautious.

24                     THE COURT:      Excuse me.      How do you know

25     he's in hiding?
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 1                       THE WITNESS:     I have been -- it's been

 2     rumored.     In fairness, it's been rumored.

 3                       THE COURT:     Then you don't know, do you,

 4     unless you talked to Mike?

 5                       THE WITNESS:     You're correct, Your Honor.

 6                       THE COURT:     Restate your question.

 7     BY MR. RICHARDSON:

 8           Q.    The question again is:          Who makes up the

 9     team, Gregg's team, that you asked to take a dive

10     around the security of software?

11                       Are you refusing to answer the question?

12           A.    No.     I'm just drawing a blank at specific

13     names.     And then, I don't want to get the name wrong

14     and saying something that is incorrect.

15                       There have been a variety of people that

16     we -- or that Gregg has worked with for different

17     things, and this was -- and it's also very important

18     to understand that that statement was made relative to

19     open-source information, things that you can find on

20     Google.

21                       MR. RICHARDSON:     Objection.

22     Non-responsive.        You're not answering --

23                       THE COURT:     Sustained.

24     BY MR. RICHARDSON:

25           Q.    What are the names of the people that made up
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 1     the team, Gregg's team, that you asked to take a

 2     deeper dive around the security of software?

 3           A.    Gregg's company, Obsec (phonetic), is our

 4     contractor.      I cannot tell you the names -- the full

 5     names of his team.         I -- I don't know them --

 6                     THE COURT REPORTER:         Can you say the name

 7     of the company again?

 8                     THE WITNESS:       Sure.    "Opsec."

 9     BY MR. RICHARDSON:

10           Q.    So the team you're referring to is just

11     Opsec?

12           A.    That's the company, yes.

13           Q.    Do people work for Opsec?

14           A.    The contractors and -- I really don't know

15     the ways in which they are engaged.

16           Q.    A second ago you were saying you didn't want

17     to tell me the names because you were concerned for

18     their safety?

19           A.    That's true.       But also, as I sit here, I'm

20     struggling to think of like first name, last name.

21     Some people go by different -- I mean, it's just a

22     very loose affiliation.

23           Q.    I'm asking you to tell me what you know.

24           A.    Okay.

25           Q.    Who was on Gregg's team that you asked to
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 1     take a deeper dived around the security of software?

 2           A.    To the best of my knowledge, there was

 3     someone named John.

 4           Q.    John what?

 5           A.    I couldn't tell you.

 6           Q.    Who else?

 7           A.    There was someone -- I'm drawing a complete

 8     blank.     I apologize.

 9           Q.    What is John's position with Opsec?

10           A.    They're all researchers.          They all do

11     different things.

12           Q.    What do they research?

13           A.    Open-source intelligence.

14           Q.    Do they research security around software?

15           A.    It's certainly possible.          Clearly, in the

16     podcast, I said it.         And we have open-source records

17     to support findings.         So...

18           Q.    But you never even saw the data that we're

19     talking about here today.            So you don't know what

20     supports -- what you didn't see?             So --

21           A.    No.    That's actually not true.

22           Q.    How is it not true?

23           A.    The data is one aspect of this.             But the

24     insecurities around Konnech's websites, and there are

25     many, are fully available on open-source anything.
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 1     You can see it.

 2           Q.    Let's go through that then.           So it sounds

 3     like you know how it was accessed then?

 4           A.    No.     I don't know how the data was accessed.

 5           Q.    So how do you know there are any

 6     vulnerabilities?

 7           A.    You can use BinaryEdge.          It will show you the

 8     vulnerabilities.

 9           Q.    How does BinaryEdge show you the

10     vulnerabilities?

11           A.    A vulnerability would be, if you're able to

12     reside on the UNICOM backbone in China.

13           Q.    And that is a security vulnerability; to

14     access that server?         Or is that just a location of

15     something?

16           A.    Well, in that particular instance, and I

17     believe this has been submitted along with our other

18     things today, there are host of URLs.               Formation would

19     be, for example, vote for L.A., vote for Fairfax, vote

20     for Hillsborough.        Those are the front doors to a

21     product called PollChief.           That is how Konnech uses

22     its user interface to capture data.

23                       MR. RICHARDSON:     Objection.

24     Nonresponsive.

25                       THE WITNESS:     Those URLs resolve on the
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 1     Chinese UNICOM backbone in China, according to

 2     BinaryEdge.

 3                     MR. RICHARDSON:       Objection.

 4     Nonresponsive.

 5     BY MR. RICHARDSON:

 6           Q.    I'm asking you about the security

 7     vulnerabilities you just mentioned.

 8           A.    Okay.

 9           Q.    Do you know or do you not know actual

10     security vulnerabilities of any Konnech computer,

11     software, server or the like?

12           A.    BinaryEdge indicates that there are many

13     Konnech-run websites that resolve in China.                 I guess I

14     don't understand the question.

15           Q.    Security would mean -- a flaw in security,

16     something that makes it accessible --

17           A.    You're right.       Then that must be intentional.

18           Q.    What is intentional?

19           A.    That Konnech is hosting all of their data in

20     China.

21                     MR. RICHARDSON:       Objection.

22     Nonresponsive.

23                     THE COURT:      I'll sustain it.

24     BY MR. RICHARDSON:

25           Q.    My question is:        Do you know of any security
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 1     vulnerabilities of Konnech's software, servers or

 2     computers?      Not the location of where any of this is.

 3     Security vulnerabilities to where a public could

 4     access it?

 5           A.    Yes.

 6           Q.    And what is that?

 7           A.    BinaryEdge.

 8           Q.    That is not the answer.

 9                     BinaryEdge shows the location of

10     something.      It does not show an open door or an open

11     window that is not locked.

12           A.    I respectfully disagree.

13           Q.    I'm going to ask one more time --

14           A.    Sure.

15           Q.    -- do you know, or do you not know, of any

16     unlocked doors or windows, so to speak, of any Konnech

17     server, software or computer?

18           A.    I want to be clear.         Are we talking about

19     security vulnerabilities or unlocked doors?

20           Q.    They are one in the same as to how you can

21     access it without authority.

22                     Do you know of any vulnerabilities to

23     where somebody could access Konnech's protected

24     computers, servers or the like that would constitute a

25     security vulnerability?
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 1           A.    There are many ways that could be true, yes.

 2           Q.    So do you or do you not know how Konnech's

 3     computers were accessed?

 4           A.    I have no personal knowledge of what

 5     transpired to access that data.

 6           Q.    So you do not know of security

 7     vulnerabilities.        And that's fine if you don't.            We'll

 8     move on.

 9           A.    Or we can keep at that question if you would

10     like.

11           Q.    You haven't answered my question.             So I don't

12     know why we're going to waste any more time on it.

13           A.    Okay.

14           Q.    I want to step back.

15                     You said the FBI asked you to go public.

16     When did they ask you to go public?

17           A.    It must have been -- to the best of my

18     recollection, it would have been around May or June of

19     2022.

20           Q.    How did they ask you to do this?             Did they

21     send you a letter?         Did they call you up?

22           A.    It was a phone call.

23           Q.    Who was the phone call with?

24           A.    Huy Nguyen.

25           Q.    And what specifically did he ask you to do?
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 1           A.    Well, he didn't ask me, to be very clear, he

 2     suggested.      He said that the people who were involved

 3     in Washington, DC were -- well, if I may.                Basically,

 4     the way he described this is, he said:               I'm losing

 5     sleep.     I can't believe that this is happening.               DC is

 6     continuing down this path.           You need to be prepared to

 7     take the nuclear option.

 8                     And I said:      What does that mean?

 9                     And he said:       You need to be prepared to

10     go -- I don't recall specifically if he said to the

11     press or go public.

12                     Frankly, I was so overwhelmed by that

13     statement that I don't really remember.               Nonetheless,

14     it was basically essentially go public.

15           Q.    So what you're saying is that Mr. -- or what

16     Agent Nguyen asked you to do was essentially undermine

17     or obstruct the efforts of what the FBI in DC was

18     trying to do.       Is that correct?

19           A.    I can only tell you what he told me.              How

20     that impacts the rest of it, I couldn't say.

21           Q.    Well, would you agree, then, if FBI in

22     Washington, DC was not wanting to go forward with an

23     investigation, and they wanted to, you know, do

24     whatever with it, if another agent is asking you to go

25     public with it, would you disagree that that is
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 138 of 225

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 1     undermining the efforts of Washington, DC FBI?

 2           A.    I don't know.

 3           Q.    Is this what did you at The Pit?             Was that

 4     your effort to go public and do the nuclear option?

 5           A.    That was part of what we discussed, yes.

 6           Q.    You don't think that that undermined any

 7     efforts of agents in DC?

 8           A.    I don't know.

 9           Q.    What you were doing at The Pit, instead, was

10     sacrificing Konnech in an attempt to save yourself

11     from the FBI.       Isn't that right?

12           A.    No.

13           Q.    What were you doing at The Pit in connection

14     with Konnech?

15           A.    We were telling the story of the past 16

16     months working with the FBI and what had brought us to

17     that moment.

18           Q.    Again, you never even saw that data; right?

19           A.    No.

20           Q.    And you're not going to sit here and tell me

21     today how that data was found.            Is that right?

22           A.    I have no personal knowledge of that.

23           Q.    But you are claiming to have personal

24     knowledge of security flaws in any Konnech computer,

25     software or server.         Is that right?
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 1           A.    Yes.

 2           Q.    And you're not willing to sit here and tell

 3     me what those flaws are?

 4           A.    Well, maybe I'm misunderstanding the

 5     question.      When I hear you say that, we talk of

 6     security flaws, I think of the fact that they're

 7     connected to servers and that our election

 8     information -- U.S. election information is connected

 9     to servers in China, to me that is a security flaw.

10                     But I may be misinterpreting what you're

11     asking and I don't mean to.

12           Q.    The only person that has claimed to have

13     accessed this data or seen any data is Mr. Phillips

14     and Mr. Hasson and this third person, who has not been

15     named in this courtroom today.            Is that right?

16           A.    Yes.

17           Q.    So we're not talking about anybody in China

18     accessing any data.         We're talking about what

19     defendants Mike Hasson and this person did.

20                     So I'm asking you again:          Are you aware of

21     any security flaws that they used to access that data?

22           A.    I have no personal knowledge of that.

23           Q.    Was this -- Gregg's team, was Mr. Hasson part

24     of that team?

25           A.    I have no personal knowledge of that.
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 1           Q.    Was this third person who defendants are

 2     refusing to name -- was he part of that team?

 3           A.    I have no personal knowledge of that.

 4           Q.    Are you going to give me the name of that --

 5           A.    No.

 6           Q.    Why not?

 7           A.    Because it is my understanding that he is a

 8     confidential informant for the Federal Bureau of

 9     Investigations.

10           Q.    Have you spoken with this person?

11           A.    Yes.

12           Q.    When is the last time you spoke with him?

13           A.    Man, I don't know that I've even spoken with

14     him this year.

15           Q.    When was the first time you spoke to this

16     person?

17           A.    The very first time I spoke with him?

18     Probably 2011.

19           Q.    Where did you speak with him?            Did you meet

20     him in person?

21           A.    I did meet him in person, yes.

22           Q.    Where?

23           A.    I think it was at the hotel, an event,

24     something like that.         Hotel event.

25           Q.    He's not just inviting people to meet him at
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 141 of 225

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 1     hotels all the time.         Okay.

 2                     What kind of event was it?

 3           A.     Probably some kind of conference or

 4     something.

 5           Q.     What kind of conference?         Political

 6     conference?

 7           A.     That was back in, you know, the days where

 8     there were so many grassroots groups.               In that

 9     respect, I don't have specific recollection.

10           Q.     Do you recall what you spoke to him about?

11                     Do you recall any conversations you've had

12     with this unnamed individual?

13           A.     Sure.   I recall some conversations.

14           Q.     Have any of those conversations concerned

15     Konnech?

16           A.     Not that I can specifically recall.

17           Q.     Are you a confidential informant?

18           A.     I was, yes.

19           Q.     When were you first --

20           A.     I don't know exactly.        I think it was the

21     fist quarter of 2021 through approximately June of

22     2022.      Or maybe May of 2022.

23           Q.     Why did you lose your claimed CI status?

24           A.     What we were told was that --

25                     THE COURT:      I'm sorry.      How did you lose
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 142 of 225

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 1     it?    And then you can tell us who the "we" is.

 2                     THE WITNESS:       Okay.    My understanding is

 3     the way that I lost the confidential status was due to

 4     a meeting that we had with the Arizona Attorney

 5     General's criminal team when we were presenting them

 6     with information.

 7                     And we had agreed that we would use the

 8     FBI as a hub for data, relative to geospatial data,

 9     and that way the criminal team and other law

10     enforcement agencies could access it without worry of

11     breaks of chain of custody or provenance of data.

12                     And so in this meeting, we agreed that

13     they would give us a 24 hours or so to notify the FBI

14     that this was our intention.            And in that

15     conversation, they asked how we normally provided the

16     data to the FBI.        And we said -- I said, it's given

17     confidentially.

18                     They took that information at the

19     conclusion of that meeting and began to call all

20     around to other FBI offices apparently -- this is what

21     we were told.       And so we and I will just -- I'll

22     finish with:       I was told by Huy Nguyen that whomever

23     he reported to had heard from others, I guess -- I

24     really don't know, but had been told that the Arizona

25     Attorney General's criminal team had made so many
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 1     calls and asked straight out, apparently, if we were

 2     confidential informants, and that because of that,

 3     that was grounds for no longer being able to afford us

 4     that coverage.       And the "we" in this case was myself

 5     and Gregg Phillips.

 6     BY MR. RICHARDSON:

 7           Q.    You did something that caused your claimed CI

 8     status to be withdrawn?

 9           A.    I didn't, no.

10           Q.    Somebody says you did.          The FBI says you did?

11           A.    Well, the FBI said that the Arizona Attorney

12     General's criminal team made so many calls and they

13     said that -- asked if we were confidential informants.

14     We did not provide that information.

15           Q.    You're certainly aware that the Arizona

16     Attorney General has issued statements, has asked the

17     IRS to investigate you.          Is that right?

18           A.    That's correct.

19           Q.    They claim that you never provided any

20     evidence to them.        Isn't that right?

21           A.    That's correct.

22           Q.    You posted a picture -- actually you posted a

23     statement and a picture with Mr. Phillips holding a

24     hard drive on True The Vote's website.               Isn't that

25     right?
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 1           A.    Correct.

 2           Q.    Did that hard drive contain any Konnech data

 3     on it?

 4           A.    No.

 5           Q.    The hard drive was just a geolocation data

 6     that was used in 2000 Mules?

 7           A.    It was Arizona-specific data for the

 8     jurisdictions in which we conducted the research.

 9           Q.    Not any Arizona poll worker data?

10           A.    No.

11           Q.    Did Mr. Phillips bring with him to Houston --

12     when he left Dallas, did he bring with him a flash

13     drive, a hard drive, a copy of any Konnech data that

14     he received from that hotel room?

15           A.    I don't recall.        I don't know.      I never saw

16     that if it happened.

17           Q.    You don't know if he had --

18           A.    I don't know.

19           Q.    He never showed you a copy?

20           A.    No.    There would have been no need.

21           Q.    Did he tell you what he did that night?

22           A.    He told me what he had seen and the need to

23     report it to the FBI immediately.

24           Q.    He told you who he was with?

25           A.    He told me about Mike, yes.
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 1           Q.    That's the only person he said was there?

 2           A.    I didn't even ask.        Yes.

 3           Q.    Does Mr. Phillips travel with armed security?

 4           A.    He does now, yes.

 5           Q.    He didn't back then?

 6           A.    No.

 7           Q.    So there wouldn't have been any security with

 8     him at that time?

 9           A.    I couldn't tell you.         I wasn't there.

10           Q.    If Mr. Phillips stated on a podcast that he

11     took this data down to Houston, was he misstating the

12     truth of what happened?

13           A.    Without further context, I really couldn't

14     tell you.      I mean, there were so many things we were

15     providing to the FBI relative to the geospatial data

16     that he may have said that, and it could've very well

17     meant a hard drive that we provided to various

18     jurisdictions across the country.

19           Q.    We're not talking about any geospatial data.

20     We're talking about the data that he claims that he

21     witnessed over four-and-a-half hours, from midnight to

22     4:30 a.m., that he claimed on a podcast to have taken

23     that data immediately to Houston -- he left that

24     night.     He took that data to show you.

25                       Was that a misstatement?        Is that not what
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 1     happened?

 2            A.   Well, no.      What happened -- I can't attest to

 3     what he said.        I don't know.

 4            Q.   I'm asking you if that's true; if my

 5     characterization of what happened is true?

 6            A.   No.     Your characterization is not true.            I

 7     never saw the data.

 8            Q.   He never showed you:          Look what I have, a

 9     flash drive or hard drive?

10            A.   Not that I recall, no.

11            Q.   Have you ever spoken with anybody at L.A.

12     County about Konnech?

13            A.   Yes.

14            Q.   Who?

15            A.   Eric Neff.      Andrew, whose last name I, too,

16     can't remember.

17            Q.   What did you speak to them about?

18            A.   About the open-source information that we had

19     at that point on Konnech.

20            Q.   Did you speak to him about any personal

21     identifying information of poll workers that

22     Mr. Phillips claims to have seen?

23            A.   We told them that we provided it to the FBI,

24     yes.

25                       I say "we."    Sorry.     That Gregg had
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 147 of 225

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 1     provided or had facilitated -- that reports had been

 2     filed about.

 3           Q.    We'll get to who gave what to the FBI.

 4                       But did you describe any of the data that

 5     Mr. Phillips saw or claims to have seen to the L.A.

 6     D.A.?

 7           A.    I have no specific recollection of that.

 8           Q.    Have you seen any photos of the data --

 9           A.    No.

10           Q.    No screenshots of it?         Mr. Phillips didn't

11     bring his cellphone out and take pictures of the

12     screen in the hotel room?

13           A.    No.

14           Q.    Did you testify in grand jury?

15           A.    No.

16           Q.    Have you served as any sort of witness or

17     informant for the L.A. D.A.?

18           A.    No, I guess not.        I talked to them, as I

19     said, but not in any official capacity I don't guess.

20     I don't know.

21           Q.    Are you aware of anybody other than

22     Mr. Hasson who has Konnech data without authority?

23           A.    No.     I mean -- no.

24           Q.    You don't know or no?

25           A.    I don't personally agree with the framing of
     Case 4:22-cv-03096 Document 47 Filed on 10/30/22 in TXSD Page 148 of 225

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 1     that question.        So I'm hesitant, because I don't

 2     believe that anything that has happened here has been

 3     illegal.

 4                       But, regardless, I don't know of anybody

 5     that had access to the data in any manner other than

 6     Mike Hasson.

 7           Q.    Are you aware of any authority that Konnech

 8     gave Mike Hasson to access its computers?

 9                       I'll rephrase the question.

10                       In your personal knowledge, has Konnech

11     given Mike Hasson authority to access its computers?

12           A.    I have -- I can't -- I have no personal

13     knowledge of that.

14           Q.    Has Konnech given you authority to access its

15     computers?

16           A.    No.

17           Q.    Has Konnech given True The Vote authority to

18     access its computers?

19           A.    No.

20           Q.    As you sit here, you're saying you do not

21     know one single other person on this Earth who has

22     Konnech poll worker data that did not have authority

23     to have that?

24                       MR. KIYONAGA:     Your Honor, could you ask

25     counsel to speak up?         I can't hear the question.
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 1     BY MR. RICHARDSON:

 2           Q.    Did you hear my question?

 3           A.    If you could repeat it?

 4           Q.    Do you know a single other individual or

 5     entity on the face of this Earth who has Konnech poll

 6     worker data that Konnech did not give authority to

 7     possess?

 8           A.    Again, question -- but understanding I

 9     believe what you're asking beyond what we've already

10     described here, no, there is no one that I know.

11           Q.    What do you believe it is that I'm asking?

12     So we make sure that --

13           A.    Sure.     Sure.    Well, I have no personal

14     knowledge of how that data was accessed.                So that

15     probably should be the extent of my answer.

16           Q.    I'm not asking if you have any authority

17     about how the data was accessed.

18                       I'm asking you about whether or not you

19     know anybody who has possession, custody or control of

20     any Konnech poll worker data that was not granted

21     authority to have that data?

22           A.    No.

23           Q.    Not a single person?

24           A.    No.

25           Q.    Not an organization?
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 1            A.      I mean, I don't know if L.A. County

 2     approved -- I mean, if Konnech approved the raid for

 3     L.A. County, I don't know how to think about that or

 4     FBI.        They have it.   I don't know.

 5            Q.      L.A. County, FBI, Mike Hasson are the only

 6     individuals?

 7            A.      Yes.

 8            Q.      Do you know if Mike Hasson still has a copy

 9     of it?

10            A.      I don't know.

11            Q.      Do you know if this third person that you're

12     refusing to name still has a copy of it?

13            A.      To the best of my knowledge, I have no reason

14     to think that person would have anything to do with

15     this.

16            Q.      I'll give you one more chance.

17                       Are you going to give us the name of the

18     third person that was involved in accessing Konnech's

19     computers?

20            A.      I cannot do that.

21                       Please let me just restate, because you

22     trailed off at end.         Maybe I missed it.

23                       The third person didn't, to the best of my

24     knowledge, ever have any access or any connection to

25     any of this.
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 1           Q.    He was there that night, in January of 2021,

 2     in that hotel room in Dallas?

 3           A.    I don't even have specific knowledge of that.

 4           Q.    You've been told by Mr. Phillips.             Is that

 5     right?

 6           A.    I've been told generally, yes.            And so --

 7     it's interesting, it's entire possible that we may not

 8     even be talking about the same thing.               But, yes.

 9           Q.    What do you think we're talking about?

10           A.    I believe I know the third person and I'm --

11           Q.    Who is the third person?

12           A.    -- very cautious.

13                     I am sorry?

14           Q.    Who is the third person?

15           A.    This is a confidential that I cannot give the

16     name of.

17           Q.    Has the FBI told you that you can't give us

18     that name?

19           A.    I'm not sure what the rules are around that.

20     I wish I had more clarity.

21                     MR. RICHARDSON:       Objection.

22     Nonresponsive.

23     BY MR. RICHARDSON:

24           Q.    I asked you:       Has the FBI told you

25     specifically that you cannot give us that name?
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 1                       It's yes-or-no question.

 2           A.    No.     The FBI has never told me that

 3     specifically.

 4           Q.    So you are refusing to tell us that name here

 5     today?

 6           A.    I just don't think I'm supposed to do that.

 7     I can't do that.        I'm sorry.

 8           Q.    Are you aware that at the October 6 hearing

 9     your counsel told Your Honor here that the FBI told

10     him they have no interest in protecting this

11     information?        Are you aware of that?

12           A.    Yes.

13           Q.    And despite that statement from your lawyers,

14     what they were told by the FBI, you're refusing to

15     tell me the name of the individual.              Is that right?

16           A.    Yes.

17                       MR. RICHARDSON:     Pass the witness.

18                       THE COURT:     I have a couple of questions.

19                       THE WITNESS:     Yes, sir.

20                       THE COURT:     So is it your personal choice

21     or decision not to disclose the name of that person?

22                       THE WITNESS:     Yes, sir.

23                       THE COURT:     All right.

24                       You've never seen the data I think you

25     said?
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 1                     THE WITNESS:       No, sir.

 2                     THE COURT:      If that data had the names of

 3     individuals who were poll workers in many counties

 4     throughout the United States, personal information;

 5     names, addresses Social Security numbers, bank account

 6     numbers, that kind of information was what was

 7     accessed, do you believe that that is a serious

 8     matter?

 9                     THE WITNESS:       Absolutely, yes.

10                     THE COURT:      And that's the kind of

11     information that you would not want --

12                     THE WITNESS:       No, sir.

13                     THE COURT:      -- public to disclose;

14     correct?

15                     THE WITNESS:       No, sir.

16                     THE COURT:      The way that you answered your

17     questions leaves me to believe, and you can correct

18     me, that True The Vote was under investigation by the

19     FBI involved because it was involved in some -- the DC

20     FBI involved, and felt that you were involved, you

21     meaning True The Vote was involved in some activity

22     that might violate federal law.

23                     At some point in time this Konnech was

24     offered up by your company as a way of, I guess,

25     vindicating what you were doing, and they then
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 1     decided -- they meaning the FBI decided, that they

 2     would investigate you further.              Am I wrong in that?

 3                     You were under investigation before

 4     Mr. Phillips went to Dallas, weren't you?

 5                     THE WITNESS:       I don't believe so.        No,

 6     sir.

 7                     THE COURT:      When did you come under

 8     investigation?

 9                     THE WITNESS:       I don't know that we are

10     under investigation now.

11                     THE COURT:      No.   When did you come under

12     investigation?

13                     THE WITNESS:       I don't believe we're under

14     investigation.

15                     THE COURT:      You don't think you've ever

16     been under investigation?

17                     During this relevant period of time?

18                     THE WITNESS:       Pardon?

19                     THE COURT:      During this relevant period of

20     time?

21                     THE WITNESS:       Right.

22                     THE COURT:      You were not under

23     investigation at any time is what you're telling me?

24     Your company, you, individually, or True The Vote or

25     Phillips.      You-all were not under investigation at any
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 1     time during this relevant period that we're talking

 2     about here.      Is that what you're saying?

 3                     THE WITNESS:       Yes, sir.     That is what I'm

 4     saying, but with one -- just I want to make sure I've

 5     stated this clearly.         When the agents that we were

 6     working with told us what was happening through the

 7     Washington, DC bureau, they expressed it as their

 8     concern that it could go further, that it could

 9     happen, but it -- but to the best of my knowledge, it

10     never -- I mean, there has not been anything further

11     from that, which I'm thankful for.

12                     THE COURT:      You said something to the

13     effect that it May or June of 2022 this FBI agent, not

14     informant, not confidential, but a federal employee,

15     Nguyen, who is with the FBI, informed that you the

16     people in DC were doing some things that might be

17     harmful to you investigation-wise, and that if they

18     were continuing, you probably needed to prepare to go

19     public?

20                     THE WITNESS:       Yes, sir.

21                     THE COURT:      So you were or were not under

22     investigation?

23                     THE WITNESS:       I don't know.      I don't know

24     if -- if he was just concerned that it was kind of

25     heading that direction, I don't know.               I've not been
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 1     contact by the FBI in any way that, you know,

 2     suggests --

 3                     THE COURT:      You've never been told by the

 4     FBI you're under investigation?             You never received a

 5     letter from the FBI?

 6                     THE WITNESS:       No, sir.

 7                     THE COURT:      Or any of your employees or

 8     contract people have come in and given testimony?

 9                     THE WITNESS:       No, sir.

10                     THE COURT:      Or statements; right?

11                     THE WITNESS:       No, sir.

12                     THE COURT:      Did you sign an affidavit, a

13     statement involving the California investigation that

14     is ongoing?

15                     THE WITNESS:       No, sir.

16                     THE COURT:      Your first knowledge of that

17     was when?

18                     THE WITNESS:       When they contacted us.

19                     THE COURT:      Who is "us"?

20                     THE WITNESS:       They contacted -- we were --

21                     THE COURT:      Who is "we"?

22                     THE WITNESS:       Gregg Phillips and myself.

23     And that would have been approximately July -- maybe

24     June or July of 2022.

25                     THE COURT:      Did you testify before the
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 1     grand jury?

 2                     THE WITNESS:       No, sir.

 3                     THE COURT:      Did you give a statement to

 4     them at any time?

 5                     THE WITNESS:       I did meet with them.         I'm

 6     not certain if anything I said would have been, you

 7     know, a statement per se, but I did meet with them.

 8                     THE COURT:      Did you sign a statement with

 9     the FBI?

10                     THE WITNESS:       No, sir.

11                     THE COURT:      They contacted you and asked

12     you to verify the data that they had received, didn't

13     they?

14                     They wanted to know how to know that they

15     had the right data?

16                     THE WITNESS:       I did provide them with many

17     files that were open-source files, contracts that we

18     had gathered through open-records requests.

19                     So it's possible certainly that they asked

20     me if they had the right thing, because I did send it

21     to them electronically.

22                     THE COURT:      What I understand you to be

23     saying is that Konnech -- and maybe, I don't know,

24     maybe some other companies -- have with, let's say,

25     Harris County or Bexar County, or any county in
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 1     Arizona or Michigan or California or anywhere else in

 2     the United States.         These are public documents?

 3                     THE WITNESS:       Yes, sir.

 4                     THE COURT:      And so you have these public

 5     documents showing that Konnech has signed the contract

 6     to provide certain support to each of those counties

 7     regarding handling poll workers and staffing poll

 8     workers and tallying votes and paying these people

 9     when they do work.         That is what you were seeking from

10     the various counties; right?

11                     THE WITNESS:       Yes, sir.

12                     THE COURT:      You got the data, didn't you?

13     Because it's public record?

14                     THE WITNESS:       Well, we got the contracts.

15                     THE COURT:      That's what I'm saying.          You

16     got the contracts.         The contracts did not include the

17     names, telephone numbers --

18                     THE WITNESS:       No, sir.

19                     THE COURT:      -- addresses?       None of that

20     data was --

21                     THE WITNESS:       No, sir.

22                     THE COURT:      But that data was accessed on

23     Konnech's website or website that you say was set up

24     somewhere in China.         That data was accessed, wasn't

25     it?
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 1                     THE WITNESS:       My understanding is that

 2     that is what Mike Hasson saw.             Further, my

 3     understanding is that that is what Los Angeles County

 4     saw, according to the charging documents.

 5                     THE COURT:      But you've never seen then?

 6                     THE WITNESS:       No.

 7                     THE COURT:      So when I'm reading to you

 8     what I read off of one of your -- Gregg and Catherine,

 9     GC, that is Gregg and Catherine; right?                You are

10     Catherine?

11                     THE WITNESS:       Yes.    Yes, sir.

12                     THE COURT:      Stumbled onto voting software

13     used -- not contracts but software -- used to

14     coordinate elections was left with default password

15     for database.

16                     What is he talking about?

17                     THE WITNESS:       May I see that reference?

18                     THE COURT:      I can't give you my papers.

19     This is coming from documents that have been filed in

20     this court.

21                     THE WITNESS:       May I see where --

22                     THE COURT:      I'm reading it to you.

23                     THE WITNESS:       But who wrote that?

24                     THE COURT:      This is what was said by Gregg

25     Phillips on the podcast, or whatever show it was;
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 1     whether it was, you know, the Tiger or whatever.

 2                     He says:     Gregg and Catherine, GC,

 3     stumbled onto voting software used to coordinate --

 4     that means you got ahold of Konnech's software, didn't

 5     you?    Voting software.

 6                     THE WITNESS:       I'm so sorry.      Is there any

 7     way I can look at this?          What's going through my mind

 8     is Gregg wouldn't have said "Gregg and Catherine."

 9                     THE COURT:      Do you have this quote?

10                     MR. WYNNE:      I have the Complaint.         And I

11     believe it's the quote to what Your Honor is

12     referring.

13                     THE COURT:      What Complaint are you

14     referring to?       The plaintiff's complaint?

15                     MR. WYNNE:      This is the plaintiff's --

16                     THE COURT:      All right.      Would you pass it

17     to her and let her read it, please?

18                     MR. WYNNE:      Yes, Your Honor.

19                     THE COURT:      You see it?

20                     THE WITNESS:       Yes.

21                     THE COURT:      It says:     Gregg and Catherine,

22     GC, stumbled onto voting software used to coordinate

23     elections, was left with default password on database.

24     GC, that's you and Gregg, research team discovered

25     sensitive information on election workers, et cetera,
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 1     on server, bank accounts info, kids' names, SSN, et

 2     cetera.     GC takes to FBI.        That's you and Gregg taking

 3     the information to the FBI.

 4                     Do you see that?

 5                     THE WITNESS:       Yes, sir.

 6                     THE COURT:      All right.      So what is he

 7     talking about if he's not talking about having

 8     Konnech's voting software --

 9                     THE WITNESS:       I don't -- this is a -- this

10     is a post from a social media.

11                     THE COURT:      By Gregg, the man that works

12     with you?

13                     THE WITNESS:       According to this, Gregg

14     Phillips re-truthed it.          So he just -- it's just kind

15     of an automatic forward thing, but he didn't write

16     this.

17                     THE COURT:      How do you know?

18                     THE WITNESS:       Well, because the author is

19     someone different.

20                     THE COURT:      So you're saying this is a

21     lie?

22                     THE WITNESS:       No, sir.     I'm just --

23                     THE COURT:      Then why are you stumbling

24     around trying to mislead me?

25                     I asked you a different question.
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 1                     MR. KIYONAGA:       Objection.

 2                     THE COURT:      Excuse me, take your seat and

 3     don't get up again unless you're asked to get up.

 4     This is the lawyer-in-charge and stop interfering with

 5     me asking questions --

 6                     MR. KIYONAGA:       Your Honor, you're

 7     mischaracterizing --

 8                     THE COURT:      Do you understand me?

 9                     MR. KIYONAGA:       You're mischaracterizing

10     her testimony and that is unfair.

11                     THE COURT:      You've had your say.

12                     Take a seat.       Take your seat or leave the

13     courtroom.

14                     So do you understand what is being said

15     here?

16                     THE WITNESS:       Neither one of us wrote

17     this, but --

18                     THE COURT:      I didn't ask you who wrote it.

19     I asked you, do you understand what is being said?

20                     THE WITNESS:       I can deduce what the --

21     what the social media post --

22                     THE COURT:      Whatever method you use, do

23     you understand what is being said here?

24                     THE WITNESS:       I'm so sorry, I really don't

25     understand.      I mean, I understand the construction of
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 1     the sentences.       I understand that.         But I didn't write

 2     this.

 3                     THE COURT:      Do you understand what is

 4     being said by these statements, these sentences, these

 5     comments?

 6                     Do you understand what information is

 7     being relayed?

 8                     THE WITNESS:       Yes, sir.     I believe so,

 9     yes, sir.

10                     THE COURT:      What information is being

11     relayed, please?

12                     THE WITNESS:       Do you -- should I just read

13     it?

14                     THE COURT:      No.   I've already read it.

15                     I'm asking you:       What does it mean to you?

16     What information is being relayed in your mind?

17                     THE WITNESS:       Well, again, it's a social

18     media post.      But it says that Gregg and Catherine --

19                     THE COURT:      Please don't read it.

20                     THE WITNESS:       I am sorry.      I guess this

21     person wrote and said -- his take on this was that it

22     was -- that the default password was on the database

23     sort of out of order.          And then the next thing is he

24     talks about the type of data that is what Gregg saw on

25     the computer screen.
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 1                     And then GC takes the information to the

 2     FBI, which is -- I mean, these are little -- short

 3     little stilted sentences.           But, you know, I did take

 4     many things related to Konnech to the FBI over 16

 5     months.     So that makes sense.

 6                     Server lives in China on backbone.             That

 7     seems -- I understand that.

 8                     THE COURT:      Where did you get the data

 9     from that you took to the FBI on Konnech?

10                     THE WITNESS:       I didn't take any data to

11     the FBI.     I'm sorry.      I'm sorry.      I'm sorry.      I'm

12     using the term -- you're right.             You're right.

13                     Open-source -- like, the open-records

14     requests or things that are available just by Google.

15                     THE COURT:      Is there an ongoing FBI

16     investigation into True The Vote?

17                     THE WITNESS:       Not that I'm aware of.

18                     THE COURT:      Is there an ongoing

19     investigation by the FBI into Konnech?

20                     THE WITNESS:       I don't know.

21                     THE COURT:      Did you testify earlier that

22     they threw it out, basically left, and said we don't

23     have anything to do with this?

24                     THE WITNESS:       No.

25                     THE COURT:      What did you say the FBI said
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 1     to you or relayed to you by your FBI agent?

 2                     THE WITNESS:       I'm starting in about late

 3     April through June, there were a few conversations

 4     with the FBI agents, where they indicated that the DC

 5     office was, to use their term, just what they said was

 6     they were behaving in ways that were political, and

 7     that they weren't sure where it was going to go.                  This

 8     is how the conversation came up about maybe -- not

 9     maybe.     But being prepared to take the nuclear option

10     and going to the public.

11                     But in the midst of that, they were still

12     asking for us to confirm data or -- we're still

13     working with them.         It wasn't until that June or July

14     time frame when the confidential informant status

15     went, you know -- was removed.

16                     THE COURT:      You took that to mean that

17     they were not taking you seriously, didn't you?

18                     You said they're going political; meaning

19     that that meant that they were not going to follow

20     through because they felt what you were doing was

21     political; right?

22                     THE WITNESS:       I can't really comment on

23     what the feeling was, but I can definitely say that --

24     that from my understanding, the special agents, both

25     in San Antonio and Detroit and the people in
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 1     Washington, DC had very different approaches, and it

 2     was very troubling to the people in San Antonio and

 3     Detroit.

 4                     THE COURT:      Troubling to you and troubling

 5     to the FBI agents who had been assisting you; right?

 6                     THE WITNESS:       Correct.

 7                     THE COURT:      And the FBI agents who were

 8     assisting you in Laredo and San Antonio and those

 9     areas were concerned that DC was not going to do

10     anything about it?

11                     THE WITNESS:       They were concerned that DC

12     was trying, to use their terms, making this political.

13     And this was at the same time that -- you know, we've

14     seen many things that tend to get very political.                     I'm

15     sorry.     You're right --

16                     THE COURT:      I'm not interested in context.

17     I'm trying to figure out what you were meaning when

18     you said essentially that DC is trying to make it

19     political.      That meant that they would not be

20     favorable to you in what you were trying to do.                  Is

21     that right?

22                     THE WITNESS:       I would say yes, that would

23     be true.

24                            REDIRECT EXAMINATION

25     BY MR. WYNNE:
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 1           Q.    Ms. Engelbrecht, do you know whether or not

 2     there are rules and regulations governing the

 3     disclosure of confidential informants; that is,

 4     written rules of federal government agencies?

 5           A.    I don't know if there are written rules.                 I

 6     can't attest to that.

 7           Q.    Let's say that there are written and

 8     governing rules -- let me ask you this:               Is it fair to

 9     assume that there might be governing regulation?

10           A.    Oh, absolutely.        I just can't tell you

11     what -- I can't cite them.           But it's always been my

12     understanding that there is a standard that you

13     shouldn't do this.

14           Q.    If the FBI gave you assurance that you had

15     complied with those rules and regulations, you would

16     comply would disclosing this information to this

17     Judge, would you be able to do it?

18                     That is, if the FBI said it's okay -- I'm

19     not going to get into the circumstances of how that

20     happens.     And if the FBI says it's okay, you're not

21     going to stand in the way of, at least confidentially,

22     providing that information in answering the Judge's

23     questions?

24           A.    Oh, absolutely not.         I'm just fearful.        I

25     wouldn't -- if we could arrange that, that would be
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 1     great.

 2           Q.    So, if I, for instance, were able to contact

 3     the FBI, get them to say Ms. Engelbrecht would not be

 4     violating our regulations, then you would be willing

 5     to answer the Judge's question, at least

 6     confidentially?

 7           A.    Yeah -- ultimately, yes.          I just want to make

 8     sure we're doing the right thing.             But I'm very

 9     concerned about security.

10           Q.    You said during the course of

11     cross-examination -- or you referred to some texts

12     that were in the courtroom.

13                     MR. WYNNE:      May I approach?

14                     THE COURT:      Sure.

15     BY MR. WYNNE:

16           Q.    I've handed you eight pages.            Are these the

17     pages to which you were referring during

18     cross-examination?

19           A.    Yes, sir.

20           Q.    Can you generally describe them to us?

21           A.    Yes, sir.      These are screenshots of text

22     exchanges with several of the FBI agents that I worked

23     with over this period of time.

24           Q.    Who took the screenshots that are reflected

25     in these eight pages?
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 1           A.     I did.

 2           Q.     And did you take the shots -- screenshots

 3     contemporaneously with the time and date on which the

 4     communications took place?

 5           A.     I didn't take these screenshots until the end

 6     of June, when we were -- the FBI was indicating that

 7     things were worsening with Washington, DC.

 8           Q.     Fair enough.      Let me ask you:       Did you save

 9     the texts that are reflected on the eight pages of

10     this?      Did you save those texts on your phone for the

11     time that those communications were exchanged by text

12     message?

13           A.     Yes, sir.

14           Q.     Did you alter them in any way?

15           A.     No, sir.

16           Q.     And they were screenshots from your personal

17     phone?

18           A.     Yes, sir.

19           Q.     And are you the only user of that phone?

20           A.     Yes, sir.

21           Q.     All right.     I would like to look first at the

22     first page, and what does this page show?

23                     THE COURT:      Counsel, we're not going

24     through her messages.          If these have not been turned

25     over to counsel for the plaintiff, then they're not
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 1     coming into the record this way.

 2     BY MR. WYNNE:

 3           Q.    Let me ask you this:         There is two different

 4     shades -- without going into context.               Two different

 5     shade reflect two different people conversing; right?

 6           A.    Yes.    Yes, sir.

 7           Q.    And which is you; the darker shading or the

 8     lighter shading?

 9           A.    The lighter shading that is right-justified.

10           Q.    And other party is the left?

11           A.    Yes, sir.

12           Q.    And on the left, those are all, your

13     contention, FBI agents?

14           A.    Yes, sir.

15           Q.    And what is the significance -- I'll even

16     direct you to the last page.            What is the significance

17     of these texts in communicating, as you indicated

18     cross-examination, that you had been in conversations

19     with the FBI?       Why did you say that?

20           A.    Well, I just think that many of these

21     messages indicate my repeated attempts to confirm that

22     the FBI had what it needed, and my belief was that

23     that also showed that we didn't have it because we

24     were trying to make sure they had it.               And then

25     there's some -- ones toward the end where I was trying
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 1     to get help.

 2           Q.    Is it your understanding that the names of

 3     individuals that appear on the right-justified side or

 4     are otherwise written in text and identified as FBI

 5     agents are genuine FBI agents?

 6           A.    I believe so.       Yes, sir.

 7           Q.    There is person that called Bobby --

 8                     THE COURT:      Excuse me.      If these are not

 9     the persons that she was in contact with, the FBI

10     agents, Nguyen and McKenna, or whatever his name is,

11     we're not introducing new names here because she was

12     given an opportunity to give the names of other

13     persons she was involved with.            And she has not done

14     that.

15                     THE WITNESS:       If we could just --

16                     THE COURT:      Excuse me.      I'm talking to

17     your lawyer.       Do you understand that?

18                     MR. WYNNE:      Let me -- may I ask --

19     BY MR. WYNNE:

20           Q.    Did Huy Nguyen go by any other names for

21     which you're familiar?

22           A.    Bobby Nugent.

23           Q.    If you were asked by the Court to go through

24     these in detail with plaintiff's counsel, would you be

25     willing to do that?
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 1           A.    Yes.

 2                     MR. WYNNE:      No further questions.

 3                     THE COURT:      All right.      I'm not going to

 4     permit any additional questioning unless you can tell

 5     me some good reason why we should continue this.

 6                     MR. RICHARDSON:       No further questions,

 7     Your Honor.

 8                     THE COURT:      I'm going to reset this matter

 9     to Monday morning at 9:00.           And here is the message,

10     lawyers and witnesses or parties:             If I am not

11     provided, and counsel is not provided -- you don't

12     have to turn anything over to me confidentially.                  I

13     have the highest clearance of anybody in this country.

14     And so you cannot ask me to agree to keep something

15     confidential.

16                     You can work out whatever arrangements you

17     want with counsel about confidentiality.                I put that

18     in there to protect you, if want that protection.                     But

19     you cannot bargain with the Court by asking questions

20     about what somebody will do; if the Court does this.

21                     What the Court is going to do, the Court

22     is going to find that these parties are in contempt

23     and that is what I find right now.              They're both in

24     contempt of court, and they have until 9:00 a.m. on

25     Monday morning to cure it.           Otherwise, they are to
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 1     report here, and I will have a U.S. marshal prepare to

 2     arrest them until they give up the information.

 3                     Understood?

 4                     MR. WYNNE:      Absolutely, Your Honor.

 5                     THE COURT:      All right.

 6                     You may step down.

 7                     MR. KIYONAGA:       Your Honor, I'm unavailable

 8     on Monday.

 9                     THE COURT:      I don't have a concern about

10     that, counsel.       That's not my problem.          I have this

11     lawyer and the lawyer, who he claims he is counsel of

12     record, and that he has authority to speak.                 The

13     record reflects that counsel, Mr. Akers, is still in

14     the case, and that he represented that he is the

15     attorney-in-charge.

16                     So you're not in this at all as far as I'm

17     concerned.      If you want to show up, feel free.                I have

18     nothing at all to say to you about anything going on

19     in this case.       If they want you to ask questions, they

20     should ask you to do that.           It's not appropriate for

21     you to jump up and just decide you going to intervene

22     in the case.

23                     Understood?

24                     MR. KIYONAGA:       Yes, sir.

25                     THE COURT:      Thank you.
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                                                                            174

 1                     Monday morning at 9:00, gentlemen.

 2                     THE LAW CLERK:       All rise.

 3                     THE COURT:      And I expect the two witnesses

 4     will return as well.

 5                     MR. WYNNE:      They will.

 6                     THE COURT:      Thank you.

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 8                              (Court adjourned)

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                                                                            175

 1                        C E R T I F I C A T E

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 4

 5                      I hereby certify that pursuant to Title

 6     28, Section 753 United States Code, the foregoing is a

 7     true and correct transcript of the stenographically

 8     reported proceedings in the above matter.

 9

10

11                        Certified on October 30, 2022.

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13
                          /s/ Nichole Forrest____________
14                        Nichole Forrest, RDR, CRR, CRC

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